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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

ENVIRONMENTAL DEFENSE FUND,               )
                                          )
      Petitioner,                         )                Case No. 23-1166
                                          )
v.                                        )
                                          )
UNITED STATES ENVIRONMENTAL               )
PROTECTION AGENCY and MICHAEL             )
REGAN, Administrator of the United States )
Environmental Protection Agency,          )
                                          )
      Respondents.                        )
_________________________________________ )

                           PETITION FOR REVIEW

      Pursuant to the Toxic Substances Control Act, 15 U.S.C. § 2618; Federal

Rule of Appellate Procedure 15; and D.C. Circuit Rule 15, Environmental Defense

Fund petitions this Court for review of the attached final agency action of the

United Statement Environmental Protection Agency and its Administrator, Michael

Regan. The action is titled “Confidential Business Information Claims Under the

Toxic Substances Control Act (TSCA),” and was published on June 7, 2023 in the

Federal Register, at 88 Fed. Reg. 37,155.



DATED: June 29, 2023
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                                         Respectfully submitted,

                                         /s/ Samantha Liskow
                                         Samantha Liskow
                                         Colin Parts
                                         ENVIRONMENTAL DEFENSE FUND
                                         257 Park Ave S
                                         New York, NY 10010
                                         (212) 616-1247
                                         sliskow@edf.org




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               IN THE UNITED STATES COURT OF APPEALS
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ENVIRONMENTAL DEFENSE FUND,               )
                                          )
      Petitioner,                         )                Case No.
                                          )
v.                                        )
                                          )
UNITED STATES ENVIRONMENTAL               )
PROTECTION AGENCY and MICHAEL             )
REGAN, Administrator, United States       )
Environmental Protection Agency,          )
                                          )
      Respondents.                        )
_________________________________________ )

          PETITIONER’S RULE 26.1 DISCLOSURE STATEMENT

      Petitioner Environmental Defense Fund is a national nonprofit organization

that links science, economics, and law to create innovative, equitable, and cost-

effective solutions to urgent environmental problems. Environmental Defense

Fund certifies, pursuant to D.C. Circuit Rule 26.1, that it has no parent companies,

does not issue stock, and that no publicly held corporation has a ten percent or

greater ownership interest in it.


DATED: June 29, 2023

                                              Respectfully submitted,

                                              /s/ Samantha Liskow
                                              Samantha Liskow

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                          CERTIFICATE OF SERVICE

      I certify that today I served this petition for review, disclosure statement, and

attachment on Respondents:

      Via overnight mail, return receipt requested, and by placing with a courier

for hand delivery, to:

             Correspondence Control Unit
             Office of General Counsel (2311)
             U.S. Environmental Protection Agency
             1200 Pennsylvania Avenue, NW
             Washington, D.C. 20460

      Via first class mail to:

             Michael Regan, Administrator
             Office of the Administrator (1101A)
             U.S. Environmental Protection Agency
             1200 Pennsylvania Avenue, NW
             Washington, DC 20460

             Merrick Garland, Attorney General
             U.S. Department of Justice
             950 Pennsylvania Avenue, NW
             Washington, DC 20530

      I also certify that I filed these documents with the Clerk of the Court for the

United States Court of Appeals for the D.C. Circuit, through the Electronic Case

Filing (ECF) system.


DATED: June 29, 2023

                                              /s/ Samantha Liskow
                                              Samantha Liskow
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                     ATTACHMENT
                (The final agency action)




                                   5
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                                            any materials provided to the                           information about the docket available                 rules regarding a claim for protection
                                            Commission. Information requests as                     at https://www.epa.gov/dockets.                        from disclosure as the Administrator
                                            described in § 3010.170 of this chapter,                FOR FURTHER INFORMATION CONTACT:                       has promulgated or may promulgate
                                            preliminary notices, or interim orders                     For technical information contact:                  pursuant to this title.’’ In addition,
                                            may be issued to help the Commission                    Jessica Barkas, Project Management and                 TSCA section 14(c)(3) requires that
                                            determine the non-public treatment, if                  Operations Division (7401), Office of                  confidentiality claims be substantiated
                                            any, to be accorded to the materials                    Pollution Prevention and Toxics,                       ‘‘in accordance with such rules as the
                                            claimed by any person to be non-public.                 Environmental Protection Agency, 1200                  Administrator has promulgated or may
                                            *     *     *    *    *                                 Pennsylvania Ave. NW, Washington, DC                   promulgate pursuant to this section.’’
                                            [FR Doc. 2023–12109 Filed 6–6–23; 8:45 am]              20460–0001; telephone number: (202)                    Other provisions in TSCA section 14
                                            BILLING CODE 7710–FW–P                                  250–8880; email address:                               further recognize the role of the
                                                                                                    barkas.jessica@epa.gov.                                Administrator in specifying the form
                                                                                                       For general information contact: The                and manner in which the requirements
                                            ENVIRONMENTAL PROTECTION                                TSCA-Hotline, ABVI-Goodwill, 422                       of TSCA section 14 should be fulfilled
                                            AGENCY                                                  South Clinton Ave., Rochester, NY                      (e.g., manner of submitting
                                                                                                    14620; telephone number: (202) 554–                    confidentiality claims, manner in which
                                            40 CFR Parts 2, 702, 703, 704, 707, 716,                1404; email address: TSCA-Hotline@                     EPA will make required notices under
                                            717, 720, 723, 725, and 790                             epa.gov.                                               TSCA sections 14(g) or 14(e)).
                                                                                                                                                              Discussion of additional authority to
                                            [EPA–HQ–OPPT–2021–0419; FRL–8223–02–                    SUPPLEMENTARY INFORMATION:
                                                                                                                                                           require electronic reporting under TSCA
                                            OCSPP]                                                  I. Executive Summary                                   may be found in the preamble to the
                                            RIN 2070–AK68                                                                                                  final rule entitled ‘‘Electronic Reporting
                                                                                                    A. Does this action apply to me?
                                                                                                                                                           under the Toxic Substances Control Act;
                                            Confidential Business Information                          You may be affected by this action if               Final Rule’’ (Ref. 1). In addition, the
                                            Claims Under the Toxic Substances                       you have submitted or expect to submit                 Government Paperwork Elimination Act
                                            Control Act (TSCA)                                      information to EPA under TSCA and                      (GPEA), 44 U.S.C. 3504, provides that,
                                                                                                    have made or expect to make any                        when practicable, Federal organizations
                                            AGENCY:  Environmental Protection                       confidentiality claims concerning that                 use electronic forms, electronic filings,
                                            Agency (EPA).                                           information. Persons who seek                          and electronic signatures to conduct
                                            ACTION: Final rule.                                     information on such submissions may                    official business with the public.
                                            SUMMARY:   The Environmental Protection                 also be affected by this action. The
                                                                                                    following list of North American                       C. What action is the Agency taking?
                                            Agency (EPA) is finalizing new and
                                                                                                    Industrial Classification System                          EPA is finalizing new and amended
                                            amended requirements concerning the
                                                                                                    (NAICS) codes is not intended to be                    requirements concerning the assertion
                                            assertion and treatment of confidential
                                                                                                    exhaustive, but rather provides a guide                and treatment of CBI claims under
                                            business information (CBI) claims for
                                                                                                    to help readers determine whether this                 TSCA, 15 U.S.C. 2601, et seq. The Frank
                                            information reported to or otherwise
                                                                                                    document applies to them. Potentially                  R. Lautenberg Chemical Safety for the
                                            obtained by EPA under the Toxic
                                                                                                    affected entities may include:                         21st Century Act of 2016, Public Law
                                            Substances Control Act (TSCA).
                                                                                                       • Manufacturers, importers, or                      114–182 (hereafter ‘‘the Lautenberg
                                            Amendments to TSCA in 2016 included
                                                                                                    processors of chemical substances                      amendments’’), made significant
                                            many new provisions concerning the
                                                                                                    (NAICS codes 325 and 324110), e.g.,                    amendments to TSCA, including new
                                            assertion, Agency review, and treatment
                                                                                                    chemical manufacturing and petroleum                   provisions governing the assertion and
                                            of confidentiality claims. This
                                                                                                    refineries.                                            review of CBI claims that EPA is
                                            document finalizes procedures for                          If you have any questions regarding                 implementing in this action.
                                            submitting such claims in TSCA                          the applicability of this action to a                     In this document, EPA is finalizing
                                            submissions. It addresses issues such as                particular entity, consult the technical               specific procedures for submitting and
                                            substantiation requirements,                            contact person listed under FOR FURTHER                supporting CBI claims under TSCA,
                                            exemptions, electronic reporting                        INFORMATION CONTACT.                                   including among other things: (1)
                                            enhancements (including expanding                                                                              substantiation requirements applicable
                                            electronic reporting requirements),                     B. What is the Agency’s authority for
                                                                                                                                                           at the time of submission; (2) electronic
                                            maintenance or withdrawal of                            taking this action?
                                                                                                                                                           reporting requirements; (3) requirements
                                            confidentiality claims, and provisions in                  The statutory authority for this action             to provide certification statements and
                                            current rules that are inconsistent with                is provided by section 14 of TSCA, as                  generic names when making
                                            amended TSCA. The rule also addresses                   amended (15 U.S.C. 2601 et seq.). TSCA                 confidentiality claims; (4) treatment of
                                            EPA procedures for reviewing and                        section 14 (15 U.S.C. 2613) includes                   information used for TSCA purposes
                                            communicating with TSCA submitters                      requirements for asserting                             that EPA has authority to require under
                                            about confidentiality claims.                           confidentiality claims and for EPA                     TSCA but was originally submitted via
                                            DATES: This final rule is effective on                  review of such claims to determine                     other means; and (5) maintenance and
                                            August 7, 2023.                                         whether the information is entitled to                 withdrawal of confidentiality claims.
                                            ADDRESSES: The docket for this action,                  the requested protections. Section 14                     EPA is also finalizing specific
                                            identified under docket identification                  includes provisions that explicitly                    procedures for reviewing and
                                            (ID) number EPA–HQ–OPPT–2021–                           contemplate promulgation of                            communicating with TSCA submitters
                                            0419, is available online at https://                   implementation rules by the                            about confidentiality claims, including
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                                            www.regulations.gov or in person at the                 Administrator. For example, TSCA                       requirements for submitters to maintain
                                            Office of Pollution Prevention and                      section 14(c)(1)(A) requires persons                   contact information, and procedures for
                                            Toxics Docket (OPPT Docket) in the                      seeking to protect information from                    EPA to provide notices to submitters
                                            Environmental Protection Agency                         disclosure to assert such a claim                      concerning their claims.
                                            Docket Center (EPA/DC). Please review                   concurrent with submission of the                         EPA is finalizing new provisions, as
                                            the visitor instructions and additional                 information, ‘‘in accordance with such                 well as amending and reorganizing


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                                            existing provisions concerning assertion                information under TSCA substantiate                    IV. Summary of the Final Rule
                                            of confidentiality claims under TSCA.                   most confidentiality claims at the time
                                                                                                                                                           A. Existing Regulations Governing
                                            Regulatory provisions concerning TSCA                   of submission, as well as additional
                                                                                                                                                           Confidentiality Under TSCA
                                            CBI claims are currently spread over                    statement, certification, and generic
                                            several parts in the Code of Federal                    name requirements. Under TSCA                            The final rule centralizes most CBI-
                                            Regulations (CFR). EPA has general                      section 14(e), in order to maintain most               related procedures in a new part of the
                                            provisions regarding confidentiality                    claims beyond a 10-year period,                        TSCA regulations, 40 CFR part 703. This
                                            claims at 40 CFR part 2, subpart B.                     submitters are required to reassert and                new part also largely replaces TSCA-
                                            Those general provisions are                            resubstantiate those claims before the                 specific CBI regulations in 40 CFR
                                            accompanied by sections pertaining to                   end of that 10-year period.                            2.306, though a few provisions do
                                            confidentiality for many of the statutes                  Several new requirements also apply                  remain regarding, e.g., the applicability
                                            administered by the Agency. The TSCA-                   to EPA, including requirements in                      of the Agency’s public information rules
                                            specific provisions of the Agency’s                     TSCA section 14(g) to review and                       to TSCA CBI in general and procedures
                                            general business confidentiality                        approve or deny all chemical identity                  for disclosure of information under
                                            regulations are at 40 CFR 2.306. In                     CBI claims asserted since the                          special circumstances described in
                                            addition, many of the specific TSCA                     Lautenberg amendments were enacted                     TSCA sections 14(d)(2) through (7).
                                            regulations in 40 CFR contain their own                 concerning substances that are or have                 Section 2.306 has been updated in some
                                            provisions regarding CBI, such as in 40                 been offered for commercial                            provisions to conform to the timeframes
                                            CFR part 711 (Chemical Data Reporting)                                                                         specified for notice under TSCA section
                                                                                                    distribution, as well as a subset of all
                                            and 40 CFR part 720 (Premanufacture                                                                            14(g).
                                                                                                    other confidentiality claims. Such
                                            Notification).                                                                                                   In some cases, such as the regulations
                                                                                                    reviews must be completed within 90                    implementing TSCA section 14(d)(2)
                                              In this final rule, most procedural                   days of assertion of the claim. Under
                                            requirements for asserting and                                                                                 and (7), the final rule retains a notice
                                                                                                    TSCA sections 8 and 14, EPA must also                  requirement that is not required by
                                            maintaining confidentiality claims are                  review all confidentiality claims for the
                                            organized in a new part of 40 CFR, i.e.,                                                                       TSCA but which has historically been a
                                                                                                    chemical identity of substances listed as              feature of EPA’s 40 CFR part 2, subpart
                                            in part 703. The provisions in 40 CFR                   active on the TSCA Inventory and
                                            part 703 will apply to any TSCA                                                                                B, regulations. EPA received some
                                                                                                    assign and apply unique identifiers                    comments about the proposal to retain
                                            submission, except as modified                          (UIDs) to substances with approved
                                            elsewhere by more specific provisions                                                                          these notice requirements in the rules,
                                                                                                    confidentiality claims for chemical                    but notes that TSCA does not prohibit
                                            in 40 CFR part 2 or other TSCA-specific                 identity. The amendments to TSCA
                                            regulations in Title 40 of the CFR.                                                                            providing such notice and that
                                                                                                    section 14 also expanded the categories                especially in the case of rarely used
                                            D. What are the estimated incremental                   of people who may now access TSCA                      disclosure provisions, providing notice
                                            economic impacts of this action?                        CBI. These new provisions have been                    to the person who asserted the CBI
                                               EPA has evaluated the potential                      discussed in previous documents                        claim does not tend to significantly
                                            incremental impacts of this rulemaking,                 published in the Federal Register (see                 increase Agency burden or diminish the
                                            including alternative options. The                      e.g., Refs. 3, 4, and 5).                              public availability of information.
                                            details are presented in the economic                     Some TSCA regulations promulgated                    Providing notice would also tend to
                                            analysis prepared for the rule (Ref. 2),                or amended since the Lautenberg                        reduce confusion for the person who
                                            which is available in the docket and is                 amendments have included                               asserted the CBI claim and reduce the
                                            briefly summarized here. The benefits of                confidentiality provisions conforming to               possibility of unnecessary conflict over
                                            the rule include improvements to EPA’s                  the amendments (e.g., Chemical Data                    the handling of the information.
                                            management of CBI, specifically in cases                Reporting at 40 CFR 711.30 and Active/
                                                                                                    Inactive Inventory Reporting at 40 CFR                 B. Purpose and Applicability
                                            of deficient claims, and improved
                                            communication and increased public                      710.37). The final rule includes                          EPA has somewhat revised 40 CFR
                                            transparency for chemical information.                  provisions intended to implement many                  703.1 in response to public comment
                                            The rule is expected to decrease the                    of the new requirements in TSCA                        but retains the proposed provisions
                                            frequency of submitter error and                        section 14 for the remaining TSCA                      concerning the scope of information that
                                            increase efficiency in the processes for                regulations, especially requirements for               is considered ‘‘reported to or otherwise
                                            asserting and maintaining CBI claims.                   asserting a CBI claim and procedures for               obtained by EPA pursuant to TSCA or
                                            Lastly, the rule will bring TSCA                        EPA review of such claims. Further                     its implementing regulations,’’
                                            confidentiality regulations in line with                background information and a detailed                  particularly that data need not have
                                            the changes to TSCA section 14 brought                  explanation of the proposed rule is                    been submitted pursuant to an exercise
                                            about by the Lautenberg amendments.                     included in the preamble to the                        of TSCA authority in order for it to be
                                               EPA estimates that the public will                   proposed rule (Ref. 6).                                considered obtained under TSCA.
                                            incur a one-time burden and cost of                                                                               Some commenters criticized the scope
                                                                                                    III. Summary of Response to Public
                                            approximately 2,945 hours with an                                                                              provisions as greatly expanding the
                                                                                                    Comments
                                            associated cost of approximately                                                                               range of information considered
                                            $272,804 in the first year after the rule                 In response to the proposed rule, EPA                submitted under TSCA, while others
                                            is finalized and an annual, ongoing                     received eighteen public comments. The                 criticized the proposal as greatly
                                            burden of approximately 523 hours with                  commenters include trade associations,                 narrowing this range. EPA responds to
                                            an associated cost of approximately                     non-governmental organizations,                        both groups of commenters that the
                                            $45,529 in each following year.                         consultants, and individuals (two                      proposal was not intended to modify the
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                                                                                                    anonymous). Major comments are                         scope of TSCA jurisdiction, but rather to
                                            II. Background                                          discussed in the context of particular                 clarify it. EPA also notes that the
                                               The Lautenberg amendments                            provisions in Unit IV. A more detailed                 provision regarding what is considered
                                            included several significant changes to                 discussion is available in the Response                obtained under TSCA in the final rule
                                            TSCA section 14. These include                          to Comment Document for this rule,                     works in tandem with the retention of
                                            requirements that persons submitting                    which is available in the docket (Ref. 8).             disclosure limits (for reasons other than


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                                            business confidentiality) in the statute                treatment, the Agency would review                     TSCA section 14(b)(1) (‘‘[i]nformation
                                            under which the information was                         and make a final confidentiality                       that is protected from disclosure under
                                            originally provided to EPA.                             determination under TSCA section                       this section, and which is mixed with
                                               EPA has modified the proposed                        14(f), which would involve notice and                  information that is not protected from
                                            regulation text in response to some of                  opportunity for affected persons to                    disclosure under this section, does not
                                            these comments. The final rule clarifies                substantiate confidentiality claims—if                 lose its protection from disclosure
                                            and reconciles the applicable provisions                EPA denies the confidentiality claim,                  notwithstanding that it is mixed with
                                            of TSCA and the other laws by which                     the affected persons would be provided                 information that is not protected from
                                            EPA may have received data that is later                notice according to today’s final rule                 disclosure’’) in finalizing the list,
                                            used for TSCA purposes. Even where                      and TSCA section 14(g).                                reasoning that the excluded types of
                                            TSCA excludes certain data from                                                                                information may be protected from
                                            eligibility for business confidentiality                C. Definitions
                                                                                                                                                           disclosure under TSCA section 14
                                            protection, there are very limited                         EPA received several comments                       although included in a document that
                                            circumstances where the statute                         concerning the proposed definition of                  also contains information that is not
                                            requires affirmative disclosure of that                 ‘‘health and safety study’’ at 40 CFR                  protected from disclosure. EPA notes
                                            same data by EPA. Instead, data used                    703.3, particularly the proposed                       that study reports can and often are
                                            under TSCA might have originally been                   excluded categories of information.                    provided in a number of formats, with
                                            submitted under and remain protected                    Some commenters proposed additional                    variable detail, and with varying levels
                                            or restricted from disclosure for reasons               exclusions, while others argued that                   and types of information that are
                                            other than business confidentiality                     there should be fewer or no exclusions                 ancillary to the study report.
                                            under another statute. An example is                    because having any exclusions is
                                                                                                                                                              EPA is declining to add additional
                                            FIFRA section 10(g), which limits                       inconsistent with TSCA and/or that the
                                                                                                                                                           exclusions, as many of the suggestions
                                            disclosure of certain pesticide data to                 proposed categories are information
                                                                                                                                                           made were either redundant with the
                                            persons who can certify they are not                    underlying and relevant to the studies.
                                                                                                       In this final rule, EPA is declining to             proposed list (e.g., laboratory address is
                                            acting on behalf of an entity engaged in                                                                       redundant with the name of the
                                            the production, sale, or distribution of                add exclusions beyond those originally
                                                                                                    proposed but is making modifications to                laboratory), or do not constitute
                                            pesticides in countries other than the                                                                         information that EPA can categorically
                                            United States. Where certain data is not                the original proposal to combine similar
                                                                                                    exclusions and to clarify the intended                 determine as unnecessary to interpret
                                            entitled to business confidentiality                                                                           the study, and therefore cannot be
                                            protections under TSCA but does enjoy                   scope of the exclusions. As EPA
                                                                                                    explained in the preamble to the                       categorically excluded from the
                                            disclosure protections under another
                                                                                                    proposed rule (Ref. 6), EPA considers                  definition of a health and safety study
                                            statute for other reasons (e.g., FIFRA
                                                                                                    some types of information that may be                  under TSCA section 3(8).
                                            section 10(g)), EPA does not believe
                                            there is a conflict between the two                     included in or with a study document                      The final rule is modified from the
                                            statutory provisions. It therefore does                 as not part of the ‘‘health and safety                 proposal to combine similar exclusions
                                            not violate TSCA for EPA to withhold                    study’’ as defined in TSCA section 3(8).               and to clarify the intended scope of the
                                            or restrict disclosure of such data                     That definition states that the term                   exclusion. The exclusion for name of
                                            pursuant to the requirements of the                     ‘health and safety study’ means any                    the submitting company (previously
                                            other law. EPA has therefore replaced                   study of any effect of a chemical                      included in 40 CFR parts 716 and 720)
                                            the proposed language concerning                        substance or mixture on health or the                  is combined with the exclusion for
                                            resolution of conflicts with language                   environment or on both, including                      name of laboratory. This exclusion is
                                            clarifying that information that was                    underlying information and                             intended to permit confidentiality
                                            originally submitted under a statute                    epidemiological studies, studies of                    claims for submitting company identity
                                            other than TSCA may be protected from                   occupational exposure to a chemical                    and other information that would
                                            disclosure under the provisions of the                  substance or mixture, toxicological,                   disclose company identity, such as
                                            other statute for reasons other than                    clinical, and ecological studies of a                  addresses and laboratory name in the
                                            claims of business confidentiality, even                chemical substance or mixture, and any                 case that the laboratory that conducted
                                            if the information is subsequently used                 test performed pursuant to this chapter.               the study was part of or closely related
                                            under TSCA and would not be eligible                    This definition does not seek to provide               to the submitting company. The
                                            for business confidentiality protections                an exclusive list of what is or is not                 exclusion for ‘‘internal product codes’’
                                            under TSCA.                                             ‘‘included’’ in the health and safety                  is clarified with a parenthetical that
                                               Related to these provisions, some                    study but instead clarifies that all                   explains that this refers to the code
                                            commenters were concerned that data                     ‘‘underlying’’ information must be                     names for a test substance that is used
                                            originally obtained under other statutes                considered part of the study. The term                 internally by the submitting company or
                                            would be used and potentially disclosed                 ‘‘underlying’’ is an adjective ‘‘used to               is used to identify the test substance by
                                            to the public by EPA without any notice                 describe something on which something                  the test laboratory. The exclusions for
                                            to the original submitter. Particularly                 else is based.’’ Cambridge Dictionary                  names of laboratory personnel and for
                                            with respect to disclosure, this is not the             (Online). A study report may contain                   names and other private information of
                                            case. Such data, once it is considered as               information beyond that which is the                   study subjects are also combined in the
                                            being submitted or obtained under                       basis for the study. Information such as               final rule. Finally, the proposed
                                            TSCA, will be treated and disclosed                     the names of lab technicians neither                   exceptions for costs and other financial
                                            consistent with today’s final rule, TSCA,               form the basis for the study nor is it                 data and for product development,
                                            and any other pertinent laws. For                       relevant to the study results.                         advertising, and marketing plans are
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                                            example, if the information were                           EPA notes that most of the exclusions               combined. These types of information
                                            claimed as business confidential and                    have long been part of the existing                    do not often appear in study reports
                                            became subject to a Freedom of                          TSCA rules in one form or other, such                  themselves but may be included with a
                                            Information Act (FOIA) request or EPA                   as in 40 CFR parts 720 and 716, so the                 larger submission that includes a study
                                            otherwise believed that the information                 final rule will in most respects maintain              report or other health and safety data or
                                            might not be entitled to confidential                   the status quo. EPA also considered                    included in materials relating to cost


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                                            sharing for chemical testing (e.g., in                  identity as required by TSCA section 14,               category of reporters from requirements
                                            relation to a test order).                              the chemical identity is no longer                     to reassert chemical identity claims to
                                                                                                    entitled to confidential treatment and                 maintain confidential Inventory status.
                                            D. Requirements for Asserting a                                                                                   Outside this final rule, the Agency has
                                                                                                    may be published on the public portion
                                            Confidentiality Claim                                                                                          already begun exploring options for
                                                                                                    of the TSCA Inventory. For example, the
                                              TSCA section 14(c) governs assertion                  Agency noted in the 2009 updates of the                addressing the knowledge concerns
                                            of confidentiality claims for TSCA                      TSCA Inventory that ‘‘some                             raised by the commenters. For example,
                                            submissions. This provision requires                    manufacturers of these 530 chemical                    in the proposed rule TSCA section
                                            that persons submitting information                     substances did not include any claim of                8(a)(7) Reporting and Recordkeeping
                                            under TSCA substantiate most                            confidentiality for the chemical identity              Requirements for the Perfluoroalkyl and
                                            confidentiality claims at the time of                   of the chemical substance with the IUR                 Polyfluoralkyl (PFAS) Substances;
                                            submission. It also includes additional                 submission.’’ (74 FR 37224 (July 28,                   Notice of Data Availability and Request
                                            certification and generic name                          2009) (FRL–8392–4)) (emphasis added).                  for Comment, the Agency sought to
                                            requirements. The final rule retains                    See also TSCA Inventory Update                         clarify and add language to the PFAS
                                            most of the proposed provisions, with                   Reporting Modifications; Chemical                      proposed rule based in part on
                                            some modifications to clarify the                       Reporting, (76 FR 50815 and 50825                      comments received during the public
                                            regulatory provisions, or in response to                (Sept. 15, 2011) (FRL 8872–9)) (stating                comment period for today’s final rule
                                            public comment.                                         that failure to identify the chemical                  and concerning an entity’s knowledge of
                                            1. Assertion of Confidentiality Claim                   identity as CBI and complete upfront                   a specific chemical identity (Ref. 11).
                                            Upon Submission of Information to EPA                   substantiation will waive any CBI claim                2. Substantiation and Exemptions
                                                                                                    to the chemical identity). This position
                                               The final rule requires that                                                                                   The final rule includes substantiation
                                            confidentiality claims be asserted (and                 was further reinforced recently in the
                                                                                                                                                           questions in 40 CFR 703.5(b) largely as
                                            substantiated as necessary) at the time                 2020 Procedures for Review of
                                                                                                                                                           set out in the proposed rule. As
                                            of submission (limited exceptions may                   Confidential Business Information
                                                                                                                                                           suggested in the proposed rule, the final
                                            apply in the case that such information                 Claims for the Identity of Chemicals on
                                                                                                                                                           rule omits a patent-specific question in
                                            is collected during an in-person TSCA                   TSCA Inventory’s Response to
                                                                                                                                                           favor of including the issue of patents in
                                            enforcement inspection). See 40 CFR                     Comments (RTC) where EPA stated ‘‘[i]f
                                                                                                                                                           another question. The provisions
                                            703.5. This includes confidentiality                    another person reveals to the public that
                                                                                                                                                           concerning substantiation exemptions
                                            claims for specific chemical identity,                  a confidential chemical substance is
                                                                                                                                                           are as proposed.
                                            which must be asserted as specified in                  manufactured or processed for                             a. Patents. The final rule omits a
                                            existing reporting rules (e.g., CDR, 40                 nonexempt commercial purposes in the                   substantiation question exclusively
                                            CFR part 711). Several commenters                       United States, then the specific                       concerned with patents, for the reasons
                                            expressed concern regarding language in                 chemical identity would no longer be                   discussed in the proposed rule and
                                            the preamble to the proposed rule                       eligible for confidential protection, and              supported by public comment. Instead,
                                            clarifying that failing to assert a CBI                 CBI claims for that specific chemical                  where information claimed as
                                            claim for a specific chemical identity                  identity would be denied upon review’’                 confidential appears in some form in a
                                            submitted under those existing                          (Ref. 10, at 17.)                                      patent or patent application, persons
                                            regulations would lead to the specific                     EPA has considered the commenters’                  submitting those claims must address
                                            chemical identity being moved from the                  concerns that an entity lacking                        this public disclosure in their answer to
                                            confidential to the public portion of the               knowledge of a specific chemical                       the question on public disclosures more
                                            Inventory. (Refs. 6 and 8.) The                         identity may nonetheless waive                         generally, 40 CFR 703.5(b)(3)(iii).
                                            commenters’ concern pertains to those                   confidentiality for that chemical                      Failure to address such a patent
                                            instances where the chemical identity is                identity. Such a situation might arise                 disclosure in the substantiation
                                            reported by accession number (a non-                    when TSCA reporting rules implicate a                  increases the risk that EPA will
                                            confidential identifier) and no chemical                universe of reporters from sectors that                determine the information not entitled
                                            identity CBI claim is asserted, with the                typically have little knowledge of the                 to confidential treatment. Further
                                            result that the specific chemical identity              identities of specific chemical                        discussion of comments concerning CBI
                                            is moved to the public Inventory.                       substances in their products, one                      and patents is included in the Response
                                            Existing rules require that the reporter                example being importers of articles                    to Comments for this rule (Ref. 8).
                                            assert and substantiate confidentiality                 containing the chemical substance in                      b. Trade secrets. Consistent with the
                                            claims for the specific identity if they                question. The Agency recognizes that                   proposed rule, the final rule omits a
                                            wish for that substance to remain on the                this issue might arise in specific                     substantiation question specifically
                                            confidential portion of the TSCA                        contexts. However, this final rule                     concerning trade secrets. See discussion
                                            Inventory. See, e.g., 40 CFR 711.20(e).                 addresses a wide variety of situations                 in the preamble to the proposed rule
                                            Commenters expressed concerns that                      where the knowledge issue is not                       (Ref. 6).
                                            downstream customers or processors of                   presented. EPA believes that the best                     c. Specificity of competitive harm.
                                            a specific chemical would report under                  way to address commenters’ concerns is                 EPA received several comments on the
                                            TSCA by accession number and,                           to include measures in specific TSCA                   substantiation question concerning
                                            ignorant of specific chemical identity,                 reporting rules that take into account                 substantial competitive harm (40 CFR
                                            could accidentally or intentionally                     the reporting entity’s potential lack of               703.5(b)(3)(i)), several supporting the
                                            waive the confidentiality claim and                     knowledge, where such measures are                     proposed question, some advocating
                                            cause the substance to lose confidential                necessary. Addressing the issue in the                 instead for a version of the question
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                                            status.                                                 context of specific reporting rules will               currently used for CDR submissions (40
                                               EPA has consistently maintained and                  allow EPA to take into consideration the               CFR 711.30; ‘‘Will disclosure of the
                                            provided public notice of its position                  unique reporting context for the rule,                 information claimed as confidential
                                            that if any submitting entity chooses not               such as the attributes of specific                     likely cause substantial harm to your
                                            to assert and/or substantiate a                         reporters. For example, a specific                     business’s competitive position? If you
                                            confidentiality claim for a chemical                    reporting rule might except all or a                   answered yes, describe the substantial


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                                            harmful effects that would likely result                perform this function in future                        TSCA section 14(c)(4)(A), 15 U.S.C.
                                            to your competitive position if the                     enhancements of CDX. Commenters                        2613(c)(1)(C)(i) (Ref. 7).
                                            information is disclosed, including but                 generally supported this provision in                     The generic name provisions in the
                                            not limited to how a competitor could                   the proposal, though some argued that                  final rule are the same as were
                                            use such information, and the causal                    EPA should further elaborate in the rule               proposed. EPA received a few public
                                            relationship between the disclosure and                 on how and when public copies would                    comments on these provisions,
                                            the harmful effects’’), or clarification,               be made available, or that EPA should                  questioning incorporation of elements of
                                            elaboration, or other changes from the                  reject entire submissions or disregard                 EPA’s generic name guidance into the
                                            proposed question. The final rule uses                  CBI claims in submissions with                         rule, urging that EPA should undertake
                                            the proposed version of the question.                   incomplete or possibly incomplete                      a CBI review of every generic name
                                            Submitters may continue to use existing                 public copies. The Response to                         submitted under TSCA section 14, and
                                            guidance describing EPA’s expectations                  Comments document (Ref. 8) elaborates                  suggesting that procedures permitting
                                            for substantiation and may contact EPA                  on EPA’s current and planned practices                 negotiation of generic names or
                                            regarding case-specific substantiation                  for making public copies of TSCA                       permitting correction of deficiencies
                                            questions. Guidance and current staff                   submissions available, while noting that               that EPA identifies with a generic name
                                            contact information is available at                     committing many of these practices to a                are too complex or are unnecessary,
                                            https://www.epa.gov/tsca-cbi.                           rule is beyond the intended scope of                   among other comments.
                                              d. Exemptions. The final rule                         this rulemaking activity except to the                    EPA concluded that incorporation of
                                            provisions at 40 CFR 703.5(b)(5)                        extent EPA finds the public copy to be                 elements of the generic name guidance
                                            concerning substantiation exemptions                    deficient. The final rule provisions                   into the rule provides helpful
                                            in TSCA section 14(c)(2) are the same as                concerning treatment of deficiencies                   clarification concerning minimum
                                            proposed. EPA received limited                          including missing or incomplete public                 generic name requirements. Despite that
                                            comment concerning the exemption at                     copies are elaborated in Unit IV.D.6.                  clarification, however, EPA’s experience
                                            TSCA section 14(c)(2)(G), for the                                                                              is that, in some instances, disagreement
                                            specific identity of chemicals that have                4. Supporting Statement and                            regarding the sufficiency of a generic
                                            not yet been introduced into commerce,                  Certification                                          name may be unavoidable. Therefore,
                                            arguing that because the exemption may                                                                         the final rule sets forth a streamlined
                                                                                                      The final rule at 40 CFR 703.5(a)
                                            only be applied to claims made up until                                                                        process for negotiating generic names in
                                                                                                    includes certification and supporting
                                            the substance is introduced into                                                                               TSCA section 5 Notices of
                                                                                                    statements as set out in TSCA section
                                            commerce, EPA has an obligation to                                                                             Commencement (40 CFR 720.102) and
                                                                                                    14, which are consolidated into one
                                            revisit those pre-commerce claims once                                                                         introduces a provision for EPA to
                                                                                                    certification that is automatically                    provide an opportunity to correct
                                            the substance has been introduced into
                                                                                                    incorporated into most TSCA reporting                  deficient generic names in any TSCA
                                            commerce. While EPA agrees that new
                                                                                                    forms. TSCA submitters who for                         submission (40 CFR 703.5(e)). The
                                            claims for the same information would
                                                                                                    unusual and case-specific reasons are                  substantiation exemption for certain
                                            no longer be exempt from the
                                                                                                    not able to provide their submission via               specific chemical identities contained in
                                            substantiation requirement once the
                                                                                                    CDX must assure that the consolidated                  section 14(c)(2)(G) and corresponding
                                            chemical is introduced into commerce,
                                                                                                    statement is included in their                         exclusions from routine CBI review
                                            there is nothing in the statute to suggest
                                                                                                    submission. This provision is                          under TSCA section 14(g) indicate that
                                            that EPA is required to revisit those
                                            prior claims. Indeed, CBI claims are                    unchanged from the proposal.                           substantive review of the sufficiency of
                                            generally only reviewed as required by                  5. Generic Names                                       every generic name at the time of
                                            TSCA section 14(g) (within 90 days of                                                                          submission is both in excess of TSCA
                                            submission) or as permitted or required                    The final rule includes provisions                  requirements and impractical
                                            pursuant to one of the provisions of                    specifying requirements for generic                    (especially where the substantiation
                                            TSCA section 14(f). The filing of a                     chemical names, which are used in                      necessary to complete such a review is
                                            Notice of Commencement (NOC), for                       place of specific chemical names in                    neither required nor provided). The
                                            example, does not trigger a mandatory                   public documents mentioning                            Response to Comments document
                                            review of prior CBI claims for the                      substances with confidential specific                  provides more detailed discussion of
                                            subject chemical substance by the same                  chemical identities. 40 CFR 703.5(d).                  these comments. (Ref. 8.)
                                            submitter.                                              The requirements cover when and how
                                                                                                    such generic names must be submitted,                  6. Deficient Submissions
                                            3. Public Copies of Submissions                         some basic requirements, and                              The clear requirements in the final
                                               40 CFR 703.5(c) of the final rule                    procedures for resolving disagreements                 rule regarding assertion of CBI claims,
                                            includes a requirement that TSCA                        about the adequacy of a given generic                  combined with recent improvements to
                                            submitters include a public copy                        name. TSCA section 14(c)(1)(C) requires                TSCA reporting tools including near-
                                            (sometimes referred to as a ‘‘sanitized                 the submission of a generic name any                   universal electronic reporting, should
                                            copy’’) of their submission, though 40                  time a specific chemical identity is                   significantly reduce the incidence of
                                            CFR 703.5(c)(1) limits this requirement                 claimed as confidential. This provision                procedural deficiencies. Nonetheless,
                                            to unfielded data, such as study reports                further requires that the generic name be              EPA does not expect that these will
                                            and other documents that might be                       ‘‘structurally descriptive’’ and that it               prevent all such problems. EPA is
                                            submitted as attachments to a reporting                 ‘‘describe the chemical structure [. . .]              therefore retaining the proposed
                                            form. Most TSCA submissions that are                    as specifically as practicable’’ while also            deficiency provisions in the final rule at
                                            made on a standard reporting form                       protecting the features of the chemical                40 CFR 703.5(e).
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                                            include individual data fields that each                substance that are claimed confidential                   Some public commenters advocated
                                            have a checkbox-type indicator for                      or where disclosure would likely cause                 that the short correction period
                                            confidentiality claims. In the case of                  substantial harm. 15 U.S.C.                            provided in the rule should be longer,
                                            these forms, a public copy is either                    2613(c)(1)(C)(ii). The generic name must               and/or that EPA should give one or
                                            already generated automatically, or the                 also be consistent with the generic name               more additional notices, using both
                                            reporting tool could be updated to                      guidance developed in accordance with                  electronic and paper means of


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                                            communication. Others criticized                        CDX, especially related to 2020 CDR                    htm). Thus, in many if not most cases,
                                            providing any such opportunity to                       reporting (Ref. 8). EPA notes that in the              companies or groups of companies
                                            correct deficiencies, arguing that it                   case of 2020 CDR reporting, EPA moved                  conducting and/or submitting such
                                            would deprive the public of information                 quickly to correct the technical                       chemical safety testing in the U.S will
                                            that should be treated as non-                          problems and extended the reporting                    have already or would otherwise be
                                            confidential and that EPA should                        deadline to accommodate reporters who                  required to fill out such templates
                                            instead either reject such submissions                  had issues. Similar problems, many of                  anyway when providing the same
                                            outright, or immediately disclose the                   which were related to both the large size              information to regulatory authorities in
                                            information subject to the deficient                    of individual submissions and the peak                 other countries. Templated data will
                                            claim. As elaborated in the Response to                 volume of submissions being made                       make CBI review of the submission
                                            Comments Document, the time period                      around the same time, are fairly unique                more efficient (by aiding in
                                            for correction of deficiencies is                       to the CDR rule reporting and would not                identification of CBI claims) and aid in
                                            necessarily quite short, given statutory                be expected with TSCA section 8(e),                    data sharing and dissemination within
                                            constraints on the time for CBI review                  TSCA section 12(b), or polymer                         EPA and in public databases. EPA
                                            and reviews under other parts of TSCA,                  exemption reporting, as the former two                 intends to elaborate on instructions for
                                            such as TSCA section 5 (Ref. 8). As is                  submission types are submitted                         including OHT files (e.g., currently
                                            also elaborated in the Response to                      throughout the year (not all at once) and              acceptable file types and IUCLID
                                            Comments Document (Ref. 8) and in                       for all three submission types, most                   software versions) as appropriate in
                                            Unit IV.D.7. of this document, it is now                submissions are fairly small. EPA                      individual reporting rules or orders,
                                            a practical necessity that EPA and TSCA                 expects that in the case technical                     and/or in the applicable reporting tool
                                            submitters rely primarily on electronic                 reporting issues such as occasionally                  instruction documents.
                                            communications and notices made                         encountered in the 2020 CDR reporting
                                                                                                                                                           9. Maintenance of Company Contact
                                            through CDX. Id.                                        period do recur in the future, the
                                               By relying on electronic                                                                                    Information and Communications
                                                                                                    Agency would continue its practice of
                                            communications and keeping the period                                                                          Concerning Claims
                                                                                                    promptly addressing the problem and
                                            for correcting deficiencies short, EPA                  making appropriate accommodations                         The final rule provisions concerning
                                            believes information not entitled to                    (such as extending reporting deadlines).               maintenance of company contact
                                            confidential treatment will be available                Also, noting one comment concerned                     information and reliance on electronic
                                            to the public more quickly using the                    with potential legal barriers to                       notices concerning CBI claims are as
                                            approach in the final rule (which also                  electronic reporting, such as when a                   proposed. 40 CFR 703.5(h). EPA
                                            briefly pauses other statutory review                   submission might include classified                    received several comments in favor of
                                            periods, such as under TSCA section 5,                  information or otherwise include                       EPA providing redundant multi-media
                                            such that the public is not deprived of                 handling restrictions distinct from CBI                notices (electronic, paper mail, email,
                                            the materials for any longer than it takes              claims, EPA expects to continue to                     etc.) and concerned with the burden of
                                            to identify the deficiency) than if EPA                 handle these unusual and rare situations               maintaining contact information for
                                            instead rejected the whole submission                   on a case-by-case basis, in accordance                 each submission over time. As
                                            or proceeded to immediately release the                 with their special legal and technical                 explained in the preamble to the
                                            information (actions, especially in the                 needs.                                                 proposed rule, it is EPA’s experience
                                            latter case, that could be expected to                                                                         that providing notice by other
                                            precipitate protracted litigation over an               8. Requirement To Report Health and                    permissible means, such as via certified
                                            Agency action that could be seen as                     Safety Information Using OECD                          mail, does not necessarily better assure
                                            unduly punitive, arbitrary, and beyond                  Harmonized Templates                                   prompt delivery and access by its
                                            statutory authority).                                      EPA is finalizing the requirement to                intended recipient than would EPA’s
                                                                                                    provide health and safety information                  proposed and preferred shift to reliance
                                            7. Electronic Reporting                                 using the appropriate OECD harmonized                  on electronic notices. For those
                                               The final rule requires, with very                   template (OHT), when such a template                   commenters who advocated an email in
                                            limited exceptions, that all TSCA                       is available. 40 CFR 703.5(g). As                      addition to a CDX-delivered electronic
                                            submissions that include CBI claims                     explained in the preamble to the                       notice, EPA notes that this is already
                                            must be submitted electronically. 40                    proposed rule, this requirement would                  occuring—each CDX notice coincides
                                            CFR 703.5(f). This requirement most                     be in addition to existing requirements                with a more generic email notice to the
                                            notably affects reporting under TSCA                    to provide a full study report. EPA                    email address provided by the company
                                            section 8(e), export notifications under                received some non-specific comments                    contact.
                                            TSCA section 12(b), and polymer                         suggesting that the reporting burden                      Maintaining contact information for
                                            exemption notices under TSCA section                    associated with filling in such templates              individual submissions is an
                                            5, for which electronic reporting is                    would be more substantial than EPA                     inescapable consequence of the
                                            required for the first time in today’s                  estimated, but these comments provided                 Lautenberg amendments, particularly
                                            final rule. Voluntary e-reporting was                   no alternative estimate. Use of the                    since most CBI claims now expire after
                                            already available for TSCA sections 8(e)                templates is already required for                      ten years unless reasserted by the
                                            and 12(b) notices, so those existing                    submitting data to regulatory authorities              submitter. The TSCA section 14(f) CBI
                                            reporting tools will be updated in                      in other countries (e.g., to the European              review provisions also call for
                                            accordance with the final rule and will                 Chemicals Agency (ECHA)) and                           submission-specific company contact
                                            become mandatory to use for reporting.                  international programs with strong U.S.                maintenance, in that those types of CBI
                                            A new reporting tool will be available                  participation and support encourage                    review almost always require some
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                                            for submitting annual polymer                           and facilitate reciprocal acceptance and               notice to the company, both that the
                                            exemption notices. A few commenters                     use of data and non-duplication of                     review is taking place and for the
                                            expressed concern over reliance on                      chemical safety testing (see, e.g., the                purpose of permitting submission of
                                            electronic reporting, citing past                       OECD Mutual Acceptance of Data                         substantiation. Such reviews can take
                                            incidences of technical difficulties with               (MAD) system, https://www.oecd.org/                    place at any time after a submission is
                                            providing electronic submissions via                    env/ehs/mutualacceptanceofdatamad.                     made. EPA has created new reporting


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                                            tools that permit a company to request                  EPA must perform this function. 40 CFR                 FOIA-specific criterion was missing
                                            copies of record it may have lost access                703.5(j).                                              from the proposed 14(g) substantive
                                            to by turnover in personnel or to                                                                              criteria in 703.7 (it was proposed in
                                                                                                    E. EPA Review of Confidentiality Claims
                                            provide updated contact information for                                                                        703.8 only for FOIA-prompted reviews
                                            one or more company submissions.                        1. Representative Subset                               under TSCA section 14(f)), EPA has
                                            More broadly, EPA strongly suggests                        EPA received several comments on                    made the substantive criteria uniform
                                            that companies develop internal                         selection of the representative subset (40             for any CBI determination. Though
                                            practices to assure that a current                      CFR 703.7(a)), especially on the                       introducing some redundancy with the
                                            company contact is maintained for each                  submissions it proposed to exclude from                other criteria, EPA believes that one set
                                            of their submissions including CBI. This                                                                       of criteria for all reviews improves
                                                                                                    the subset as not being especially
                                            might include, for example, use of email                                                                       clarity and consistency between
                                                                                                    representative of TSCA submissions
                                            addresses that more than one person can                                                                        reviews.
                                                                                                    more generally. The final rule maintains                  EPA has declined the suggestion of
                                            access to receive CBI notices, a limited-               the proposed case selection
                                            access internal list of submission                                                                             one commenter that the criterion
                                                                                                    methodology (one in four TSCA                          mentioning the limited confidentiality
                                            passphrases, or other procedures to                     submissions with non-exempt CBI
                                            better assure that passphrases and TSCA                                                                        protections for health and safety study
                                                                                                    claims for information other than                      data (40 CFR 703.7(f)(5)) should be
                                            submission-specific information is                      chemical identity) but clarifies that this
                                            known to or available to more than one                                                                         expanded to permit generic name to
                                                                                                    is the method EPA will use in general.                 stand in for specific identity in any
                                            person and isn’t lost to the company                    EPA believes that some flexibility is
                                            when any one of its personnel are                                                                              health and safety study for which the
                                                                                                    appropriate here in case it might                      submitter wishes to assert a CBI claim.
                                            suddenly unavailable.                                   occasionally be necessary to issue                     Instead, the study report would refer
                                            10. Withdrawing Claims                                  additional confidentiality                             only to the generic name of the
                                                                                                    determinations to ensure that the                      substance. The commenter supposed
                                              The final rule adopts the proposed                    Agency is meeting the minimum 25%
                                            provisions on withdrawing claims,                                                                              that simply not including the specific
                                                                                                    required by TSCA section 14(g)(1)(C)(ii).              chemical identity in the study report
                                            which provide instructions for                          The final rule also maintains the
                                            withdrawing claims originally made in                                                                          could avoid the section 14(b) limitations
                                                                                                    proposed exclusions from the                           on CBI protections in health and safety
                                            an electronic submission, and for                       representative subset, including certain               data. However, taking the commenter’s
                                            withdrawing claims originally made on                   pre-submission types of correspondence                 suggestion would be contrary to
                                            paper or in an electronic submission no                 intended mainly to ascertain subsequent                longstanding EPA policy and rules
                                            longer accessible to the company. 40                    TSCA reporting obligations (e.g., bona                 stating that chemical identity is always
                                            CFR 703.5(i).                                           fide notices under 40 CFR 720.25),                     considered part of a study (e.g., 40 CFR
                                            11. Amending a Public Copy Following                    occasional submissions that may be                     720.3(k)); ignore the fact that health and
                                            Claim Denial or Expiration                              excluded from the otherwise nearly                     safety studies are usually submitted as
                                                                                                    universal electronic reporting                         part of (attachments to) various TSCA
                                               Public commentary was divided on                     requirement, and amendments. In                        reporting forms that also specifically
                                            who should be responsible for updating                  general, EPA believes that excluding                   identify the chemical; and not reflect
                                            public copies of submissions to make                    these submissions is appropriate and                   the fact that chemical identity may be
                                            newly non-CBI information available                     will not significantly affect the total                protected as CBI, need not be
                                            (the submitting company or EPA); other                  number of claims reviewed because                      substantiated, and will not be routinely
                                            commenters suggested that making this                   these submissions may not contain                      reviewed (under TSCA section 14(g))
                                            information available need not be a                     many claims in the first place, the                    until the chemical substance is
                                            priority unless a specific request for it               claims they do include are or will be                  introduced into U.S. commerce.
                                            was pending (e.g., a FOIA request).                     duplicated in other submissions, and/or                However, the criterion has been
                                            Based on its experience, EPA has                        the submission type is relatively rare.                clarified in the final rule to reflect that
                                            concluded that companies submitting                                                                            the limitations on confidentiality
                                            CBI claims should retain primary                        2. Substantive Criteria
                                                                                                                                                           protections don’t apply to all health and
                                            responsibility for updating public                         TSCA itself does not specify the                    safety information that might be
                                            copies. Because the company best                        criteria that must be used in making a                 submitted under TSCA (e.g., data on
                                            understands the intended scope and                      confidentiality determination, so EPA                  R&D substances, prior to
                                            purpose of its original CBI claim(s), that              proposed and will retain in this final                 premanufacture notification).
                                            company is in the best position to                      rule (40 CFR 703.7(f)) elements drawn
                                            determine with precision which of its                   from TSCA section 14(b) limitations of                 3. Reconsideration Process
                                            claims remain and assure these are                      confidentiality protections, TSCA                         After considering comment on the
                                            indicated in the public copy accurately                 section 14(c) requirements to assert                   proposal, EPA has decided to omit the
                                            prior to release of the data. If EPA must               confidentiality claims, as well as EPA’s               reconsideration process (for denied CBI
                                            occasionally dispute the scope of the                   long pre-existing criteria for evaluation              claims) from the final rule (Ref. 6).
                                            remaining claims indicated by the                       of confidentiality claims as set out in 40             While some commenters supported the
                                            submitter, EPA and the submitter could                  CFR 2.208.                                             proposal, others did not, describing it as
                                            resolve this issue prior to release of the                 Some commenters suggested a longer                  biased, open-ended, and lacking in
                                            data, which is not possible when EPA                    list of criteria or somewhat different                 transparency. EPA now believes that
                                            prepares and releases the updated                       wording to more strongly emphasize                     codifying a reconsideration process is
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                                            public copy without the involvement of                  some parts of some criteria over others.               unnecessary. If a person believes that a
                                            the submitter. The final rule does                      EPA has declined most of these                         determination was incorrect or has
                                            include some minor amendments to                        suggestions as EPA believes them to be                 questions about the determination, they
                                            clarify how EPA will append public                      unnecessary and unlikely to influence                  may contact EPA (using the contact
                                            copies to make newly non-CBI                            the outcome of a CBI determination. In                 information in the final CBI
                                            information available, in cases where                   response to one comment noting that a                  determination letter) about their


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                                            concerns prior to filing a judicial                     that the commenter in some areas                       subject to review under TSCA section
                                            appeal.                                                 misunderstands 40 CFR 720.85. The                      14(g), as are PMNs, but the filing of an
                                                                                                    language in 40 CFR part 720.85(a) is                   NOC does not open or reopen the TSCA
                                            F. Related or Corresponding Revisions
                                                                                                    mostly redundant with TSCA section                     section 14(g) review of the PMN filed
                                            to Other TSCA Rules
                                                                                                    14, other provisions of the final rule, or             previously. Instead, the PMN may be
                                            1. Revisions to 40 CFR Parts 702, 704,                  both. Under the final rule, persons may                reviewed or re-reviewed pursuant to
                                            707, 716, 717, 723, and 790                             assert CBI claims for chemical identity                TSCA section 14(f), under one of the
                                               The final rule replaces the CBI                      in a PMN, but they must also submit a                  mandatory or discretionary provisions,
                                            provisions of several TSCA rules with a                 generic name consistent with TSCA                      where applicable. Even following TSCA
                                            cross reference to 40 CFR part 703 to                   section 14(c). Persons who would like to               section 14(f) review, many chemical
                                            centralize the CBI rules and make them                  consult EPA concerning an appropriate                  identity claims in health and safety
                                            more consistent among submission                        generic name may continue to do so                     studies will still be valid, as TSCA
                                            types. EPA received some comment                        through the pre-notice consultation                    section 14(b) includes exceptions from
                                            advocating for retaining some of the                    process. See: https://www.epa.gov/                     information that is not protected from
                                            existing CBI provisions, but EPA                        reviewing-new-chemicals-under-toxic-                   disclosure, including information that
                                            believes this is unnecessary, redundant,                substances-control-act-tsca/filing-pre-                discloses processes used in the
                                            and/or needlessly inconsistent with the                 manufacture-notice-epa#pre-notice.                     manufacture of a substance or portion of
                                            final CBI rules centralized in 40 CFR                      Much of 40 CFR 720.85(b) is retained                mixture information.
                                            part 703. For further discussion, see the               in the final rule, but has been moved to
                                                                                                    40 CFR 720.102, while the                              V. References
                                            Response to Comments (Ref. 8).
                                                                                                    substantiation provisions are replaced                   The following is a listing of the
                                            2. Clarification of TSCA Section 12(b)                  with the substantiation provisions in 40               documents that are specifically
                                            Rules                                                   CFR part 703. The provision in section                 referenced in this document. The docket
                                               The language in 40 CFR part 707 is                   720.85(b)(1), providing that a CBI claim               includes these documents and other
                                            revised in the final rule to cross                      for chemical identity may not be                       information considered by EPA,
                                            reference 40 CFR part 703 for CBI                       asserted in an NOC unless that CBI                     including documents that are referenced
                                            reporting requirements, to require                      claim has been asserted for the                        within the documents that are included
                                            electronic reporting, and to clarify that               underlying PMN, is not necessary. If the               in the docket, even if the referenced
                                            it is generally not necessary to list                   chemical identity is not claimed as CBI                document is not physically located in
                                            confidential specific chemical identities               in the PMN, the chemical identity is                   the docket. For assistance in locating
                                            in a TSCA section 12(b) report. EPA                     published in the public notice required                these other documents, please consult
                                            received some public comment                            by TSCA section 5(d)(2). PMNs and                      the person listed under FOR FURTHER
                                            criticizing this provision,                             NOCs are identified by the same case                   INFORMATION CONTACT.
                                            misunderstanding the clarification as                   number, providing a public link                        1. U.S. EPA. Electronic Reporting under the
                                            rescinding a previous requirement to                    between the NOC and the PMN. Upon                          Toxic Substances Control Act; Final
                                            provide specific chemical identities in                 required TSCA section 14(g) review of                      Rule. Federal Register. 78 FR 72818,
                                            TSCA section 12(b) notices. Part 707                    the chemical identity claim in the NOC,                    December 4, 2013 (FRL–9394–6).
                                            regulations never included such a                       EPA would not uphold a confidentiality                 2. U.S. EPA. Economic Impact Analysis for
                                                                                                    claim that was not made in the PMN.                        the Procedures for Submitting
                                            requirement, though some submitters                                                                                Information Subject to Business
                                            unnecessarily provided such                             Further discussion is available in the
                                                                                                                                                               Confidentiality Claims under the Toxic
                                            information anyway. The Response to                     Response to Comments document (Ref.                        Substances Control Act (TSCA); Final
                                            Comments Document provides further                      8).                                                        Rule (RIN 2070–AK68). April 2023.
                                            clarification of the pre-existing rule and                 One commenter advocated retaining                   3. U.S. EPA. Procedures for Review of CBI
                                            elaborates on how EPA processes TSCA                    most of 40 CFR 720.90 (except (a)(3),                      Claims for the Identity of Chemicals on
                                            section 12(b) notices without need for a                (b)(2)(iii), and (c)(3)), arguing that                     the TSCA Inventory; Final Rule. Federal
                                            confidential specific chemical identity                 chemical identity claims should not be                     Register. 85 FR 13062, March 6, 2020
                                                                                                    permitted in health and safety studies at                  (FRL–10005–48).
                                            in the report (Ref. 8).                                                                                        4. U.S. EPA. TSCA Chemical Substances;
                                                                                                    the PMN stage, but that if EPA
                                            3. Revision in 40 CFR 717.17 and                                                                                   Unique Identifier Assignment and
                                                                                                    continues to permit such claims in the
                                            723.250 To Reflect Electronic Reporting                                                                            Application Policy; Notice of
                                                                                                    PMN, the PMN claim should be re-                           Availability. Federal Register. 83 FR
                                               The final rule revises 40 CFR parts                  reviewed when an NOC is filed and                          30168, June 27, 2018 (FRL–9979–59).
                                            717 and 723 to reflect that TSCA section                chemical identity should be disclosed.                 5. U.S. EPA. Guidance on Expanded Access
                                            8(c) incident reports and TSCA section                  EPA disagrees. Chemical identity claims                    to TSCA Confidential Business
                                            5 polymer exemption notices must be                     are permitted in the PMN submission                        Information; Notice of Availability.
                                            submitted electronically.                               including attachments, and such claims                     Federal Register. 83 FR 30171, June 27,
                                                                                                    are exempt from upfront substantiation                     2018 (FRL–9979–75).
                                            4. Revisions to Confidentiality                         requirements under TSCA section                        6. U.S. EPA. Confidential Business
                                            Provisions in the Premanufacture Notice                                                                            Information Claims under the Toxic
                                                                                                    14(c)(2)(G) and from routine review                        Substances Control Act (TSCA);
                                            (PMN) and Microbial Commercial                          under TSCA section 14(g). TSCA section
                                            Activity Notice (MCAN) Rules                                                                                       Proposed Rule. Federal Register. 87 FR.
                                                                                                    14(g) requires that EPA review certain                     29078, May 12, 2022 (FRL–8223–01–
                                               The final rule revises 40 CFR parts                  CBI claims within 90 days of                               OCSPP).
                                            720 and 725 as proposed. Some public                    submission. In nearly all circumstances,               7. U.S. EPA. Guidance for Creating Generic
                                            commenters also favored retaining more                  an NOC is filed well more than 90 days                     Names for Confidential Chemical
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                                            of the CBI provisions in 40 CFR part                    after the PMN, usually months or                           Identity Reporting under TSCA.
                                            720. A commenter asserted that the                                                                                 Publication ID No. EPA 743B18001. June
                                                                                                    sometimes years later (or not at all). The
                                                                                                                                                               2018. Available at: https://www.epa.gov/
                                            proposed revisions to 40 CFR 720.85                     NOC is also, while linked to the PMN                       sites/production/files/2018-06/
                                            omitted necessary existing statements                   submission, a different TSCA                               documents/san6814_guidance_for_
                                            that are not sufficiently duplicated in                 submission—one that does not include                       creating_tsca_generic_names_2018-06-
                                            the final rule—EPA disagrees and notes                  health and safety studies. NOCs are                        13_final.pdf.



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                                            8. U.S. EPA. Confidential Business                      submitters will also be required to                    small entities subject to the
                                                Information Claims under the Toxic                  reassert and substantiate those claims.                requirements of this action are chemical
                                                Substances Control Act (TSCA); Final                Several new requirements also apply to                 manufacturers (including importers).
                                                Rule (RIN 2070–AK68). Response to
                                                Comments Document. April 2023.
                                                                                                    EPA, including requirements to review                  EPA estimates that 1,001 small firms
                                            9. U.S. EPA. Information Collection Request             and approve or deny all chemical                       would be affected by the proposed
                                                (ICR) entitled: Confidential Business               identity claims asserted concerning                    requirements. Of those small firms,
                                                Information Claims under the Toxic                  substances that are offered for                        100% would have cost impacts of less
                                                Substances Control Act (TSCA)—Final                 commercial distribution, as well a                     than 1 percent of annual revenues,
                                                Rule (RIN 2070–AK68). EPA ICR No.:                  subset of all other confidentiality                    which EPA has determined does not
                                                2706.02; OMB Control No.: 2070–0223.                claims, within 90 days of the claim
                                                February 2023.                                                                                             qualify as a significant impact. Details of
                                                                                                    being asserted. Further requirements                   this analysis are presented in the
                                            10. U.S. EPA. Response to Comments on the
                                                Proposed Rule, Procedures for Review of             that EPA review all confidentiality                    Economic Analysis (Ref. 2), which is
                                                CBI Claims for the Identity of Chemicals            claims concerning substances listed as                 available in the docket. We have
                                                on the TSCA Inventory. February 4,                  active on the TSCA Inventory, a                        therefore concluded that this action will
                                                2020, available at https://                         requirement to assign and apply Unique                 have not have a significant adverse
                                                www.regulations.gov/document/EPA-                   Identifiers to substances with approved
                                                HQ-OPPT-2018-0320-0061.                                                                                    economic impact on all directly
                                                                                                    confidentiality claims for chemical
                                            11. U.S. EPA. TSCA section 8(a)(7) Reporting                                                                   regulated small entities.
                                                                                                    identity, as well as new provisions
                                                and Recordkeeping Requirements for the
                                                Perfluoroalkyl and Polyfluoralkyl (PFAS)            providing expanded access to TSCA                      D. Unfunded Mandates Reform Act
                                                Substances; Notice of Data Availability             CBI, have been discussed in previous                   (UMRA)
                                                and Request for Comment. Federal                    Federal Register Documents.
                                                Register. 87 FR 72439, Nov. 25, 2022                Additionally, TSCA rules promulgated                     This action does not contain an
                                                (FRL–7902–4)                                        since the Lautenberg amendments have                   unfunded mandate as described in
                                                                                                    included confidentiality provisions                    UMRA, 2 U.S.C. 1531–1538, and does
                                            VI. Statutory and Executive Order
                                                                                                    conforming to the amendments (e.g., 40                 not significantly or uniquely affect small
                                            Reviews
                                                                                                    CFR parts 710 and 711).                                governments. The action imposes no
                                              Additional information about these                       Respondents/affected entities: Firms                enforceable duty on any State, local or
                                            statutes and Executive Orders can be                    asserting claims for confidentiality in                Tribal governments or the private sector.
                                            found at https://www.epa.gov/laws-                      submissions to EPA under TSCA. See
                                            regulations/laws-and-executive-                         also Unit I.A.                                         E. Executive Order 13132: Federalism
                                            orders#influence.                                          Respondent’s obligation to respond:                   This action does not have federalism
                                            A. Executive Orders 12866: Regulatory                   Mandatory (TSCA section 14; 15 U.S.C.                  implications as specified in Executive
                                            Planning and Review and 14094:                          2613).                                                 Order 13132 (64 FR 43255, August 4,
                                            Modernizing Regulatory Review                              Frequency of response: On occasion.
                                                                                                       Total estimated number of                           1999) because it will not have
                                              This action is not a significant                      respondents: 1,100 firms with an                       substantial direct effects on the states,
                                            regulatory action as defined in                         estimated additional 55 new firms each                 on the relationship between the national
                                            Executive Order 12866 (58 FR 51735,                     year.                                                  government and the states, or on the
                                            October 4, 1993), as amended by                            Total estimated number of responses:                distribution of power and
                                            Executive Order 14094 (88 FR 21879,                     1,100.                                                 responsibilities among the various
                                            April 11, 2023), and was therefore not                     Total estimated burden: 2,945 hours                 levels of government.
                                            subject to Executive Order 12866                        in the first year and 523 hours every
                                                                                                                                                           F. Executive Order 13175: Consultation
                                            review.                                                 subsequent year. Burden is defined at 5
                                                                                                                                                           and Coordination With Indian Tribal
                                            B. Paperwork Reduction Act (PRA)                        CFR 1320.3(b).
                                                                                                       Total estimated cost: $ 272,804 in the              Governments
                                               The information collection activities                first year and $ 45,592 every subsequent                 This action does not have Tribal
                                            in this final rule have been submitted to               year, which includes $ 0 annualized                    implications as specified in Executive
                                            OMB for approval under the PRA, 44                      capital or operation and maintenance                   Order 13175 (65 FR 67249, November 9,
                                            U.S.C. 3501 et seq. The Information                     costs.                                                 2000) because it will not have
                                            Collection Request (ICR) document that                     An agency may not conduct or
                                                                                                                                                           substantial direct effects on Tribal
                                            EPA prepared is assigned EPA ICR No.                    sponsor, and a person is not required to
                                            2706.02 and OMB Control No. 2070–                                                                              governments, on the relationship
                                                                                                    respond to, a collection of information
                                            0223 (Ref. 9). You can find a copy of the                                                                      between the Federal government and
                                                                                                    unless it displays a currently valid OMB
                                            ICR in the docket for this action, and it                                                                      the Indian Tribes, or on the distribution
                                                                                                    control number. The OMB control
                                            is briefly summarized here. The                                                                                of power and responsibilities between
                                                                                                    numbers for the EPA regulations in 40
                                            information collection requirements are                 CFR are listed in 40 CFR part 9. When                  the Federal government and Indian
                                            not enforceable until OMB approves                      OMB approves this ICR, the Agency will                 Tribes. It does not have substantial
                                            them.                                                   announce that approval in the Federal                  direct effects on Tribal government
                                               The reporting requirements identified                Register and publish a technical                       because EPA does not anticipate that
                                            in this final rule implement statutory                  amendment to 40 CFR part 9 to display                  Tribal governments will often make
                                            requirements in TSCA section 14,                        the OMB control number for the                         TSCA submissions, let alone those for
                                            including the new requirements that                     approved information collection                        which they would assert a CBI claim
                                            persons submitting information under                    activities contained in this final rule.               necessitating substantiation and other
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                                            TSCA must substantiate most                                                                                    requirements under TSCA and this rule,
                                            confidentiality claims at the time of                   C. Regulatory Flexibility Act (RFA)                    so this rulemaking is not expected to
                                            submission, as well as additional                          I certify that this action will not have            impose substantial direct compliance
                                            certification and generic name                          a significant economic impact on a                     costs on Tribal governments. Thus,
                                            requirements. In order to maintain most                 substantial number of small entities                   Executive Order 13175 does not apply
                                            claims beyond a 10-year period,                         under the RFA, 5 U.S.C. 601 et seq. The                to this action.


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                                            G. Executive Order 13045: Protection of                 mission by identifying and addressing,                 of the United States. This action is not
                                            Children From Environmental Health                      as appropriate, disproportionately high                a ‘‘major rule’’ as defined by 5 U.S.C.
                                            Risks and Safety Risks                                  and adverse human health or                            804(2).
                                               EPA interprets Executive Order 13045                 environmental effects of their programs,
                                                                                                                                                           List of Subjects
                                            (62 FR 19885, April 23, 1997) as                        policies, and activities on minority
                                            applying only to those regulatory                       populations (people of color and/or                    40 CFR Part 2
                                            actions that concern environmental                      indigenous peoples) and low-income                       Administrative practice and
                                            health or safety risks that the EPA has                 populations.                                           procedure, Confidential business
                                            reason to believe may                                      EPA believes that this action does not
                                                                                                                                                           information, Courts, Environmental
                                            disproportionately affect children, per                 directly concern human health or
                                                                                                                                                           protection, Freedom of information,
                                            the definition of ‘‘covered regulatory                  environmental conditions and therefore
                                                                                                                                                           Government employees.
                                            action’’ in section 2–202 of Executive                  cannot reasonably be evaluated with
                                            Order 13045. This action is not subject                 respect to potentially disproportionate                40 CFR Part 702
                                            to Executive Order 13045 because it                     and adverse effects on people of color,                  Administrative practice and
                                            does not concern environmental health                   low-income populations and/or                          procedure, Chemicals, Environmental
                                            risk or safety risk.                                    indigenous peoples. This action does
                                                                                                                                                           protection, Hazardous substances.
                                               Although this action does not concern                not directly address any human health
                                            human health or safety risk, it does set                or environmental risks and does not                    40 CFR Part 703
                                            clear procedures for confidentiality                    directly affect the level of protection                  Administrative practice and
                                            claims made by reporting entities under                 provided to human health or the                        procedure, Chemicals, Confidential
                                            TSCA, this action is expected to                        environment. However, although this                    business information, Environmental
                                            improve the quality of such claims,                     action does not directly concern human                 protection, Exports, Hazardous
                                            reduce unnecessary and unsupported                      health or environmental conditions, in                 substances, Imports, Reporting and
                                            claims, and is anticipated to result in                 setting clear procedures for                           recordkeeping requirements.
                                            more information being available to the                 confidentiality claims made by
                                            public. This action does not address any                reporting entities under TSCA, this                    40 CFR Part 704
                                            human health or environmental risks                     action is expected to improve the                        Chemicals, Environmental protection,
                                            and does not affect the level of                        quality of such claims, reduce                         Exports, Hazardous substances, Imports,
                                            protection provided to human health or                  unnecessary and unsupported claims,                    Reporting and recordkeeping
                                            the environment. Information submitted                  and is anticipated to result in more                   requirements.
                                            under TSCA can also be used by                          information being available to the
                                                                                                    public. By ensuring uniform                            40 CFR Part 707
                                            government agencies and others to
                                            identify potential problems, set                        substantiation of CBI claims, electronic                 Chemicals, Environmental protection,
                                            priorities, and take appropriate steps to               reporting requirements, certification                  Exports, Hazardous substances, Imports,
                                            reduce any potential risks to human                     statements, clarifying how EPA treats                  Reporting and recordkeeping
                                            health and the environment and as                       certain information initially obtained in              requirements.
                                            noted in this paragraph, may make more                  a context other than TSCA, and the
                                                                                                    process for maintenance or withdrawal                  40 CFR Part 716
                                            of this information available to the
                                            public.                                                 of confidentiality claims, EPA is                        Chemicals, Confidential business
                                                                                                    improving communications and                           information, Environmental protection,
                                            H. Executive Order 13211: Actions That                  transparency to the public and                         Hazardous substances, Health,
                                            Significantly Affect Energy Supply,                     promoting consistency for the regulated                Reporting and recordkeeping
                                            Distribution, or Use                                    community. Improved communication                      requirements, Safety.
                                              This action is not a subject to                       and transparency has inherent
                                            Executive Order 13211 (66 FR 28355,                     informational benefits including                       40 CFR Part 717
                                            May 22, 2001) because it is not a                       increasing understanding and awareness                   Chemicals, Environmental protection,
                                            significant regulatory action under                     of potential issues related to chemical                Hazardous substances, Reporting and
                                            Executive Order 12866 and has not                       information. Information submitted                     recordkeeping requirements.
                                            otherwise been designated as a                          under TSCA can also be used by
                                                                                                    government agencies and others to                      40 CFR Part 720
                                            significant energy action by the
                                            Administrator of the Office of                          identify potential problems, set                         Chemicals, Environmental protection,
                                            Information and Regulatory Affairs.                     priorities, and take appropriate steps to              Hazardous substances, Imports,
                                                                                                    reduce any potential risks to human                    Reporting and recordkeeping
                                            I. National Technology Transfer and                     health and the environment and as                      requirements.
                                            Advancement Act (NTTAA)                                 noted in this paragraph, may make more
                                               This action does not involve technical               of this information available to the                   40 CFR Part 723
                                            standards that would require Agency                     public. Therefore, the informational                     Chemicals, Environmental protection,
                                            consideration under NTTAA section                       benefits of the action are likely to have              Hazardous substances, Phosphate,
                                            12(d), 15 U.S.C. 272.                                   a positive impact on the human health                  Reporting and recordkeeping
                                                                                                    and environmental impacts of all                       requirements.
                                            J. Executive Order 12898: Federal
                                                                                                    populations, including minority                        40 CFR Part 725
                                            Actions To Address Environmental
                                                                                                    populations, low-income populations,
                                            Justice in Minority Populations and                                                                              Administrative practice and
                                                                                                    and indigenous peoples.
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                                            Low-Income Populations                                                                                         procedure, Biologics, Chemicals,
                                               Executive Order 12898 (59 FR 7629,                   L. Congressional Review Act (CRA)                      Environmental protection, Hazardous
                                            February 16, 1994) directs Federal                         This action is subject to the CRA, 5                substances, Imports, Labeling,
                                            agencies, to the greatest extent                        U.S.C. 801 et seq., and EPA will submit                Microorganisms, Occupational safety
                                            practicable and permitted by law, to                    a rule report to each House of the                     and health, Reporting and
                                            make environmental justice part of their                Congress and to the Comptroller General                recordkeeping requirements.


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                                            40 CFR Part 790                                           (2) Section 2.209 applies to                            (ii) To a contractor or subcontractor
                                              Administrative practice and                           information to which this section                      with an agency other than EPA, if the
                                            procedure, Biologics, Chemicals,                        applies, except that:                                  EPA program office which provides the
                                            Environmental protection, Hazardous                       (i) The notification specified in                    information to that agency, contractor,
                                            substances, Imports, Labeling,                          § 2.209(b)(2) is 15 business days.                     or subcontractor first determines in
                                            Microorganisms, Occupational safety                       (ii) The following two additional                    writing, in consultation with the
                                            and health, Reporting and                               provisions apply to § 2.209(c):                        General Counsel, that such disclosure is
                                                                                                      (A) The official purpose for which the               necessary for the satisfactory
                                            recordkeeping requirements.
                                                                                                    information is needed must be in                       performance by the contractor or
                                              Authority: 15 U.S.C. 2603, 2604, 2605,                                                                       subcontractor of the contract or
                                                                                                    connection with the agency’s duties
                                            2607, 2613, 2619, and 2625 et seq.                                                                             subcontract.
                                                                                                    under any law for protection of health
                                            Michael S. Regan,                                       or the environment or for specific law                    (2) The provisions of § 2.301(h)(2)(ii)
                                            Administrator.                                          enforcement purposes; and                              through (iv) apply to disclosures under
                                                                                                      (B) EPA notifies the other agency that               paragraph this (f).
                                              Therefore, for the reasons stated in the                                                                        (3) At the time any information is
                                            preamble, 40 CFR chapter I is amended                   the information was acquired under
                                                                                                    authority of the Act and that any                      furnished to a contractor or
                                            as follows:                                                                                                    subcontractor under this paragraph (f),
                                                                                                    knowing disclosure of the information
                                                                                                    may subject the officers and employees                 the EPA office furnishing the
                                            PART 2—PUBLIC INFORMATION                                                                                      information to the contractor or
                                                                                                    of the other agency to the penalties in
                                                                                                                                                           subcontractor shall notify the contractor
                                            ■ 1. The authority citation for part 2                  section 14(h) of the Act (15 U.S.C.
                                                                                                                                                           or subcontractor that the information
                                            continues to read as follows:                           2613(h)).
                                                                                                                                                           was acquired under authority of the Act
                                                Authority: 15 U.S.C 2613.                             (e) Disclosure of information relevant
                                                                                                                                                           and that any knowing disclosure of the
                                                                                                    in a proceeding. (1) Under section
                                            ■   2. Revise § 2.306 to read as follows:                                                                      information may subject the contractor
                                                                                                    14(d)(7) of the Act (15 U.S.C.
                                                                                                                                                           or subcontractor and its employees to
                                            § 2.306 Special rules governing certain                 2613(d)(7)), any information to which
                                                                                                                                                           the penalties in section 14(h) of the Act
                                            information obtained under the Toxic                    this section applies may be disclosed by
                                                                                                                                                           (15 U.S.C. 2613(h)).
                                            Substances Control Act.                                 EPA when the information is relevant in                   (g) Disclosure of information when
                                              (a) Definitions. For the purposes of                  a proceeding under the Act,                            necessary to protect health or the
                                            this section:                                           notwithstanding the fact that the                      environment against an unreasonable
                                              Act means the Toxic Substances                        information otherwise might be entitled                risk of injury. (1) Under section 14(d)(3)
                                            Control Act, 15 U.S.C. 2601 et seq.                     to confidential treatment under this                   of the Act (15 U.S.C 2613(d)(3)), any
                                              Chemical substance has the meaning                    subpart. However, any such disclosure                  information to which this section
                                            given it in section 3(2) of the Act, 15                 shall be made in a manner that                         applies shall be disclosed by EPA if the
                                            U.S.C. 2602(2).                                         preserves the confidentiality of the                   Administrator determines that
                                              EPA Legal Office means the EPA                        information to the extent practicable                  disclosure is necessary to protect health
                                            Office of General Counsel and any EPA                   without impairing the proceeding.                      or the environment against an
                                            office over which the EPA General                       Disclosure of information to which this                unreasonable risk of injury to health or
                                            Counsel exercises supervisory authority.                section applies because of its relevance               the environment, without consideration
                                              Proceeding means any rulemaking,                      in a proceeding shall be made only in                  of costs, or other non-risk factors,
                                            adjudication, or licensing conducted by                 accordance with this paragraph (e).                    including an unreasonable risk to a
                                            EPA under the Act or under regulations                    (2) The provisions of § 2.301(g)(2)                  potentially exposed or susceptible
                                            which implement the Act, except for                     through (4) apply to disclosures under                 subpopulation identified as relevant by
                                            determinations under this subpart.                      this paragraph (e).                                    the Administrator under the conditions
                                              (b) Applicability. This section applies                 (f) Disclosure of information to                     of use. However, any disclosure shall be
                                            as set forth in 40 CFR 703.1.                           contractors and subcontractors. (1)                    made in a manner that preserves the
                                              (c) Basic rules that apply without                    Under section 14(d)(2) of the Act (15                  confidentiality of the information to the
                                            change. Sections 2.210, 2.211, 2.212,                   U.S.C. 2613(d)(2)), any information to                 extent not inconsistent with protecting
                                            2.214, and 2.215 of this part apply                     which this section applies shall be                    health or the environment against the
                                            without change to information to which                  disclosed by EPA to a contractor or                    unreasonable risk of injury. Disclosure
                                            this section applies. Unless otherwise                  subcontractor of the United States if, in              of information to which this section
                                            specified in this section, the provisions               the opinion of the Administrator, the                  applies because of the need to protect
                                            in §§ 2.201 through 2.205 and 2.208 do                  disclosure is necessary for the                        health or the environment against an
                                            not apply to information subject to this                satisfactory performance of their work                 unreasonable risk of injury shall be
                                            section. Instead, the provisions of 40                  in connection with the Act,                            made only in accordance with this
                                            CFR part 703 provide the requirements                   notwithstanding the fact that the                      paragraph (g).
                                            and procedures relevant to                              information otherwise might be entitled                   (2) If any EPA office determines that
                                            confidentiality determinations for                      to confidential treatment under this                   there is an unreasonable risk of injury
                                            information submitted to EPA under the                  subpart. Subject to the limitations in                 to health or the environment and that to
                                            Act.                                                    this paragraph (f), information to which               protect health or the environment
                                              (d) Disclosure in special                             this section applies may be disclosed:                 against the unreasonable risk of injury it
                                            circumstances. (1) EPA intends to make                    (i) To a contractor or subcontractor                 is necessary to disclose information to
                                            disclosures pursuant to a request under                 with EPA, if the EPA program office                    which this section applies that
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                                            section 14(d)(4), (5), or (6) of the Act for            managing the contract first determines                 otherwise might be entitled to
                                            information to which this section                       in writing that such disclosure is                     confidential treatment under this
                                            applies in accordance with the                          necessary for the satisfactory                         subpart, the EPA office shall notify the
                                            requirements of the Act and any                         performance by the contractor or                       EPA Legal Office in writing of the
                                            applicable EPA guidance required by                     subcontractor of the contract or                       nature of the unreasonable risk of
                                            section 14(c)(4)(B) of the Act.                         subcontract; or                                        injury, the extent of the disclosure


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                                            proposed, how the proposed disclosure                   in accordance with the procedures                      authority for the request or submission
                                            will serve to protect health or the                     described in 40 CFR part 703.                          of the information; or
                                            environment against the unreasonable                    *     *    *    *      *                                  (iii) Whether the information was
                                            risk of injury, and the proposed date of                ■ 5. Add part 703 to read as follows:
                                                                                                                                                           provided directly to EPA or through
                                            disclosure. Such notification shall be                                                                         some third person.
                                            made as soon as practicable after                       PART 703—CONFIDENTIALITY                                  (2) However, where such information
                                            discovery of the unreasonable risk of                   CLAIMS                                                 is not protected from disclosure under
                                            injury. If the EPA office determines that                                                                      TSCA Section 14, but the statute under
                                            the risk of injury is so imminent that it               Sec.                                                   which the information was originally
                                                                                                    703.1 Purpose and applicability.                       provided to EPA limits disclosure for
                                            is impracticable to furnish written
                                                                                                    703.3 Definitions.                                     reasons other than business
                                            notification to the EPA Legal Office, the               703.5 Requirements for asserting and
                                            EPA office shall notify the EPA Legal                                                                          confidentiality (for example, limited
                                                                                                         maintaining confidentiality claims.
                                            Office orally.                                          703.7 EPA review of confidentiality claims
                                                                                                                                                           disclosure of pesticide data to
                                                                                                         under TSCA section 14(g).                         multinational pesticide producers under
                                               (3) Upon receipt of notification under
                                                                                                    703.8 EPA review of confidentiality claims             7 U.S.C. 136h(g)), the disclosure
                                            paragraph (g)(2) of this section, the EPA
                                                                                                         under TSCA section 14(f).                         limitation in the statute under which
                                            Legal Office shall make a determination
                                                                                                      Authority: 15 U.S.C. 2613.
                                                                                                                                                           the information was obtained by EPA
                                            in writing whether disclosure of                                                                               continues to apply, except where TSCA
                                            information to which this section                                                                              expressly requires disclosure of that
                                                                                                    § 703.1    Purpose and applicability.
                                            applies that otherwise might be entitled                                                                       information.
                                            to confidential treatment is necessary to                 (a) The purpose of this part is to
                                                                                                    describe procedures for asserting and                     (d) The provisions of 40 CFR part 2,
                                            protect health or the environment                                                                              subpart B, apply to this section, as
                                            against an unreasonable risk of injury.                 maintaining confidentiality claims in
                                                                                                    accordance with TSCA section 14, and                   modified by 40 CFR 2.306.
                                            The EPA Legal Office shall also
                                            determine the extent of disclosure                      for EPA review of such claims. The                     § 703.3   Definitions.
                                            necessary to protect against the                        procedures described in this part are                     The definitions in this section and the
                                            unreasonable risk of injury as well as                  generally applicable to the submission                 definitions in TSCA section 3 apply to
                                            when the disclosure must be made to                     and EPA review of any TSCA                             this part. In addition, the definition in
                                            protect against the unreasonable risk of                submission, except to the extent that                  § 720.3(ff) of this subchapter for test
                                            injury.                                                 application of the requirements would                  data also applies in this part.
                                                                                                    be inconsistent with TSCA section 14(i).                  Accept in the context of asserting a
                                               (4) If the EPA Legal Office determines               The procedures include requirements
                                            that disclosure of information to which                                                                        TSCA CBI claim means EPA’s first
                                                                                                    concerning the form and manner in                      approval of the submission containing
                                            this section applies that otherwise might               which TSCA submissions must be made
                                            be entitled to confidential treatment is                                                                       the CBI claim in CISS, or its successor
                                                                                                    to meet requirements in TSCA sections                  system.
                                            necessary to protect health or the                      14(b) and (c), to facilitate EPA review of
                                            environment against an unreasonable                                                                               Act, or TSCA, means the Toxic
                                                                                                    such claims in accordance with TSCA                    Substances Control Act, 15 U.S.C. 2601
                                            risk of injury, the EPA Legal Office shall              sections 14(f) and (g), and to facilitate              et seq.
                                            furnish notice to each affected business                disclosure of non-confidential                            CDX or Central Data Exchange means
                                            of the contemplated disclosure and of                   information to the public in accordance                EPA’s centralized electronic document
                                            the Legal Office’s determination. Such                  with TSCA, FOIA, and their                             receiving system, or its successor
                                            notice shall be made in writing, via                    implementing regulations.                              system.
                                            either electronic notice as described in                  (b) This part applies to all information                CISS or Chemical Information
                                            40 CFR 703.5(h) or by certified mail,                   that is reported to or otherwise obtained              Submission System means EPA’s web-
                                            return receipt requested, at least 15                   by EPA pursuant to TSCA or its                         based reporting tool for preparing and
                                            business days before the disclosure is to               implementing regulations. This includes                submitting TSCA submissions, or its
                                            be made. The notice shall state the date                information that was first obtained by                 successor system.
                                            upon which disclosure will be made.                     EPA other than pursuant to the                            Confidentiality claim means a claim
                                            However, if the EPA Legal Office                        authority of TSCA or its implementing                  or allegation that business information
                                            determines that disclosure of the                       regulations, provided that the following               is entitled to confidential treatment.
                                            information is necessary to protect                     two criteria have been met:                               FOIA means the Freedom of
                                            against an imminent and substantial                       (1) EPA has authority to collect the                 Information Act, 5 U.S.C. 552, et seq.
                                            harm to health or the environment, no                   information under TSCA; and                               Health and safety study has the same
                                            prior notification is necessary.                          (2) Either:                                          meaning as that provided in § 720.3(k)
                                                                                                      (i) Subsequent to its submission the                 of this subchapter, except that for
                                            PART 702—GENERAL PRACTICES                              information is being used to satisfy the               purposes of this part 703 the following
                                            AND PROCEDURES                                          obligation of a person under TSCA or its               information is not part of a health and
                                                                                                    implementing regulations; or                           safety study:
                                            ■ 3. The authority citation for part 702                  (ii) EPA makes use of the information                   (1) The name, address, or other
                                            continues to read as follows:                           in the course of carrying out its                      identifying information for the
                                                Authority: 15 U.S.C. 2605 and 2619.                 responsibilities under TSCA (e.g., EPA                 submitting company, including
                                                                                                    considered such information in its                     identification of the laboratory that
                                            ■ 4. Amend § 702.37 by revising                         actions under TSCA sections 4, 5, or 6).               conducted the study in cases where the
                                            paragraph (d) to read as follows:                         (c)(1) This part applies regardless of               laboratory is part of or closely affiliated
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                                                                                                    the following:                                         with the submitting company.
                                            § 702.37 Submission of manufacturer                                                                               (2) Internal product codes (i.e., code
                                                                                                      (i) Whether the information is
                                            requests for risk evaluations.
                                                                                                    intended by its submitter to be used by                names for the test substance used
                                            *     *    *    *     *                                 EPA in implementing TSCA;                              internally by the submitting company or
                                              (d) Confidential business information.                  (ii) Whether TSCA or an                              to identify the test substance to the test
                                            Claims of confidentiality must be made                  implementing regulation was cited as                   laboratory).


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                                              (3) Names and contact details for                     substantiation of its confidentiality                  publicly disclosed under any other
                                            testing laboratory personnel and names                  claims and the supporting statement                    Federal law? If yes, please explain.
                                            and other private information for health                and certification described in paragraph                 (B) Does any of the information
                                            and safety study participants or persons                (a) of this section within ten business                claimed as confidential otherwise
                                            involved in chemical incidents such as                  days after the inspection ends.                        appear in any public documents,
                                            would typically be withheld under 5                     Confidentiality claims lacking required                including (but not limited to) safety data
                                            U.S.C. 552(b)(6) or under other privacy                 substantiation after ten business days                 sheets; advertising or promotional
                                            laws.                                                   will be treated as deficient under                     material; professional or trade
                                              (4) Information pertaining to test                    paragraph (e) of this section. Unless                  publications; State, local, or Federal
                                            substance product development,                          otherwise directed by EPA, such                        agency files; or any other media or
                                            advertising, or marketing plans, or to                  information or materials must be                       publications available to the general
                                            cost and other financial data.                          submitted via CDX. In the case of an                   public? If yes, please explain why the
                                                                                                    unusually voluminous document                          information should be treated as
                                            § 703.5 Requirements for asserting and                  collection under section 11 of the Act,
                                            maintaining confidentiality claims.                                                                            confidential. If this chemical is patented
                                                                                                    the affected company may request                       and the patent reveals the information
                                               Any person who submits information                   additional time to assert claims and
                                            under TSCA or these implementing                                                                               you are claiming confidential, please
                                                                                                    provide substantiation, which EPA may                  explain your reasons for believing the
                                            regulations may assert a business                       grant at its discretion. The inspection is
                                            confidentiality claim to information                                                                           information is nonetheless still
                                                                                                    considered to have ended when the                      confidential.
                                            included in such submission except                      inspector physically exits the regulated
                                            where such a claim is disallowed by                                                                              (iv) Is the claim of confidentiality
                                                                                                    facility on the last day of the inspection.
                                            applicable regulation under this                           (2) Information in substantiations may              intended to last less than 10 years (see
                                            subchapter. Such claim must be made                     be claimed as confidential. Such claims                TSCA section 14(e)(1)(B))? If yes, please
                                            concurrent with submission of the                       must be accompanied by the                             indicate the number of years (between 1
                                            information. If no such claim                           certification described in paragraph (a)               and 10 years) or the specific date after
                                            accompanies the submission, EPA will                    of this section but need not be                        which the claim is withdrawn.
                                            not recognize a confidentiality claim,                  themselves separately substantiated.                     (v) Has EPA, another Federal agency,
                                            and the information in or referred to in                   (3) Substantiation questions for all                or court made any confidentiality
                                            that submission may be made available                   claims. Unless otherwise specified                     determination regarding information
                                            to the public (e.g., by publication of                  elsewhere in this subchapter (e.g., 40                 associated with this chemical
                                            specific chemical name and CASRN on                     CFR part 711), answers to the following                substance? If yes, please provide the
                                            the public portion of the TSCA                          questions must be provided for each                    circumstances associated with the prior
                                            Inventory) without further notice.                      confidentiality claim in a TSCA                        determination, whether or not the
                                               (a) Supporting statement and                         submission:                                            information was found to be entitled to
                                            certification. (1) A person asserting a                    (i) Please specifically explain what                confidential treatment, the entity that
                                            confidentiality claim must submit a                     harm to the competitive position of your               made the decision, and the date of the
                                            statement that the person has:                          business would be likely to result from                determination.
                                               (i) Taken reasonable measures to                     the release of the information claimed as                (4) Additional substantiation
                                            protect the confidentiality of the                      confidential. How would that harm be                   questions for chemical identity-related
                                            information;                                            substantial? Why is the substantial harm               claims only. Unless otherwise specified
                                               (ii) Determined that the information is              to your competitive position likely (i.e.,             in the relevant electronic reporting
                                            not required to be disclosed or                         probable) to be caused by release of the               form, answers to the following questions
                                            otherwise made available to the public                  information rather than just possible? If              must be provided for each chemical
                                            under any other Federal law;                            you claimed multiple types of                          identity-related confidentiality claim in
                                               (iii) A reasonable basis to conclude                 information to be confidential (e.g., site             a TSCA submission:
                                            that disclosure of the information is                   information, exposure information,                       (i) Is this chemical substance publicly
                                            likely to cause substantial harm to the                 environmental release information, etc.),              known (including by your competitors)
                                            competitive position of the person; and                 explain how disclosure of each type of                 to be in U.S. commerce? If yes, please
                                               (iv) A reasonable basis to believe that              information would be likely to cause                   explain why the specific chemical
                                            the information is not readily                          substantial harm to the competitive                    identity should still be afforded
                                            discoverable through reverse                            position of your business.                             confidential status (e.g., the chemical
                                            engineering.                                               (ii) Has your business taken
                                                                                                                                                           substance is publicly known only as
                                               (2) The person must also certify that                precautions to protect the
                                                                                                                                                           being distributed in commerce for
                                            these four statements and any                           confidentiality of the disclosed
                                                                                                                                                           research and development purposes, but
                                            information required to substantiate the                information? If yes, please explain and
                                                                                                                                                           no other information about the current
                                            confidentiality claim in accordance with                identify the specific measures,
                                                                                                                                                           commercial distribution of the chemical
                                            paragraph (b) of this section are true and              including but not limited to internal
                                                                                                                                                           substance in the United States is
                                            correct.                                                controls, that your business has taken to
                                               (b) Substantiation. (1) Confidentiality                                                                     publicly available). If no, please
                                                                                                    protect the information claimed as
                                            claims must be substantiated at the time                                                                       complete the certification statement:
                                                                                                    confidential. If the same or similar
                                            of submission to EPA, unless exempt                     information was previously reported to                    I certify that on the date referenced I
                                            under paragraph (b)(5) of this section. In              EPA as non-confidential (such as in an                 searched the internet for the chemical
                                            the case of information collected by EPA                earlier version of this submission),                   substance identity (i.e., by both chemical
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                                            or on behalf of EPA in person at the site                                                                      substance name and CASRN). I did not find
                                                                                                    please explain the circumstances of that               a reference to this chemical substance and
                                            of a TSCA inspection under section 11                   prior submission and reasons for                       have no knowledge of public information
                                            of the Act, the affected company must                   believing the information is nonetheless               that would indicate that the chemical is
                                            assert its confidentiality claim(s) in                  still confidential.                                    being manufactured or imported by anyone
                                            writing at the time the information is                     (iii)(A) Is any of the information                  for a commercial purpose in the United
                                            collected, and then must provide                        claimed as confidential required to be                 States. [provide date].



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                                               (ii) Does this specific chemical                     confidentiality claims at the time of                     (d) Generic name. Each
                                            substance leave the site of manufacture                 submission.                                            confidentiality claim for specific
                                            (including import) in any form, e.g., as                   (B) A specific chemical identity claim              chemical identity must be accompanied
                                            a product, effluent, emission? If yes,                  includes specific chemical names, CAS                  by a structurally descriptive generic
                                            please explain what measures have been                  numbers, molecular formulas, reactants                 name for that substance. This generic
                                            taken to guard against the discovery of                 (if required to be reported as part of the             name must be consistent with guidance
                                            its identity.                                           identification of the chemical, such as                on the determination of structurally
                                               (iii) If the chemical substance leaves               for Class 2 substances in § 720.45(a) of               descriptive generic names developed in
                                            the site in a form that is available to the             this subchapter), and structural                       accordance with, and made binding by,
                                            public or your competitors, can the                     diagrams; or in the case of                            section 14(c)(4)(A) of the Act (e.g.,
                                            chemical identity be readily discovered                 microorganisms, genus and species                      Guidance for Creating Generic Names
                                            by analysis of the substance (e.g.,                     name and genetic construct.                            for Confidential Chemical Substance
                                            product, effluent, emission), in light of                  (C) This exemption applies where the                Identity Reporting under TSCA;
                                            existing technologies and any costs,                    submitter lacks information to                         available at https://www.epa.gov/tsca-
                                            difficulties, or limitations associated                 reasonably conclude that the chemical                  inventory/guidance-creating-generic-
                                            with such technologies? Please explain                  substance has been offered for                         names-confidential-chemical-substance-
                                            why or why not.                                         commercial distribution, where both:                   identity-reporting), and 15 U.S.C.
                                               (iv) Would disclosure of the specific                   (1) The chemical substance is not on                2613(c)(1)(C)(ii).
                                            chemical identity release confidential                  the TSCA Inventory; and                                   (1) At a minimum, the generic name
                                            process information? If yes, please                        (2) The substance is otherwise not                  must either:
                                            explain.                                                                                                          (i) Be identical to the generic name for
                                                                                                    publicly known to have been offered for
                                               (5) Information described in                                                                                the same substance included on the
                                                                                                    commercial distribution.
                                            paragraphs (b)(5)(i) and (ii) of this                                                                          non-confidential portion of the TSCA
                                                                                                       (c) Public copies. All TSCA
                                            section is exempt from the requirement                                                                         Inventory (if the substance is listed on
                                                                                                    submissions and their accompanying
                                            to substantiate the claim at the time of                                                                       the TSCA Inventory), or
                                                                                                    attachments that include a                                (ii) For substances that are not listed
                                            submission. EPA may identify on a                       confidentiality claim must be
                                            reporting form certain information as                                                                          on the TSCA Inventory, mask only the
                                                                                                    accompanied, at the time of submission,                confidential portions of the specific
                                            exempt from substantiation. Additional                  by a public version of the submission
                                            assertions of exemption from                                                                                   chemical name. In most cases, only one
                                                                                                    and any attachments, with all                          structural element of a specific chemical
                                            substantiation may be asserted by the                   information that is claimed as
                                            submitter. Each such assertion must                                                                            name may be masked to protect a
                                                                                                    confidential removed. In the case of                   confidential chemical identity—if the
                                            include a detailed explanation for why                  documents collected by EPA or on
                                            the information falls within the claimed                                                                       submitter of a proposed generic name
                                                                                                    behalf of EPA in person at the site of a               wishes to mask more than one such
                                            exemption. If the explanation is missing                TSCA inspection under section 11 of the
                                            or inadequate, and the claim is not                                                                            element, the submission must include
                                                                                                    Act, the affected company must provide                 an explanation of why masking only one
                                            otherwise substantiated, EPA will place                 such public copies at the same time and
                                            a hold on the submission, as described                                                                         element is insufficient to protect the
                                                                                                    in the same manner as it provides                      confidential identity.
                                            in paragraph (e) of this section.                       substantiation of its confidentiality
                                               (i) The following information types                                                                            (2) Notwithstanding paragraph (d)(1)
                                                                                                    claims in accordance with paragraph                    of this section, EPA may conclude that
                                            are exempt from the substantiation                      (b)(1) of this section, within ten working
                                            requirement at the time of information                                                                         a generic name provided with the
                                                                                                    days after the inspection ends. Only                   submission and listed on the current
                                            submission:                                             information that is claimed as
                                               (A) Specific information describing                                                                         non-confidential version of the TSCA
                                                                                                    confidential may be redacted or                        Inventory does not comply with 15
                                            the processes used in manufacture or
                                                                                                    removed. Generally, a public copy that                 U.S.C. 2613(c)(1)(C). In such cases, EPA
                                            processing of a chemical substance,
                                                                                                    removes all or substantially all of the                will notify the submitting company and
                                            mixture, or article;
                                               (B) Marketing and sales information;                 information would not meet the                         proceed as described in paragraph (c)(4)
                                               (C) Information identifying a supplier               requirements of this paragraph (c) so                  of this section.
                                            or customer;                                            will likely be treated as deficient under                 (3) A generic name that meets the
                                               (D) Details of the full composition of               paragraph (e) of this section.                         requirements of section 14(c)(1)(C) of
                                            a mixture and the respective                               (1) Where the applicable reporting                  the Act prior to the date on which the
                                            percentages of constituents;                            form or electronic reporting tool                      chemical substance is first offered for
                                               (E) Specific information regarding the               contains a checkbox or other means of                  commercial distribution for the
                                            use, function, or application of a                      designating with specificity what                      purposes of a pre-market submission
                                            chemical substance or mixture in a                      information is claimed as confidential,                (e.g., a PMN) may not be sufficient for
                                            process, mixture, or article; and                       no further action by the submitter is                  the purposes of subsequent listing on
                                               (F) Specific production or import                    required to satisfy this requirement.                  the TSCA Inventory, as identified upon
                                            volumes.                                                   (2) For all other information claimed               review under section 14(g)(1)(C)(i) of the
                                               (ii) Exemption for chemical                          as confidential, including but not                     Act of a confidentiality claim for
                                            substances not yet offered for                          limited to information in attachments                  specific chemical identity made in a
                                            commercial distribution.                                and in substantiations required under                  Notice of Commencement required
                                               (A) A confidentiality claim for                      paragraph (b) of this section, the                     under § 720.102 or § 725.190(f) of this
                                            specific identity of a chemical                         submitter must prepare and attach a                    subchapter. In such cases, EPA will
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                                            substance, where the submission is                      public copy. EPA may treat as deficient                notify the submitting company and
                                            made prior to the date on which the                     submissions with public copies that are                proceed as described in § 720.102(f) or
                                            chemical substance whose identity is                    entirely blank or that are substantially               § 725.190(f) of this subchapter.
                                            claimed as confidential is first offered                reduced in length as compared to the                      (4) If EPA concludes that the
                                            for commercial distribution, is exempt                  CBI version (see paragraph (e) of this                 proposed generic name does not comply
                                            from the requirement to substantiate                    section).                                              with 15 U.S.C. 2613(c)(1)(C), EPA will


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                                            notify the submitter, and provide 10                    ability to waive the requirements of this              affected, a notice of transfer of
                                            business days for the submitter to                      paragraph, at its discretion, where                    ownership must be directed to EPA via
                                            provide a revised generic name. If EPA                  compliance is infeasible.                              CDX. Instructions for providing this
                                            concludes that the revised generic name                    (2) You must use CISS to complete                   notice and for requesting access to
                                            is still not acceptable, EPA will hold the              and submit TSCA submissions via CDX.                   copies of a prior TSCA submission are
                                            submission for an additional period of                  To access CISS go to https://                          available at https://cdx.epa.gov/.
                                            up to 10 business days, proceeding as                   cdx.epa.gov/ and follow the appropriate                   (2) When EPA contacts a TSCA
                                            set out in paragraph (e) of this section.               links.                                                 submitter concerning confidentiality
                                               (e) Deficient confidentiality claims. (1)               (3) On receipt by EPA, each electronic              claims (e.g., related to a pending or
                                            A confidentiality claim under TSCA is                   TSCA submission will be assigned a                     concluded confidentiality claim review,
                                            deficient if it meets one or more of the                case number or document identifier,                    a deficient submission, or in relation to
                                            following criteria:                                     which will be available to the submitter               the 10-year expiration of a
                                               (i) The confidentiality claim is not                 in their CDX account. This identifier                  confidentiality claim (described in
                                            accompanied by the supporting                           may be used as a reference in future                   section 14(e) of the Act)), EPA may
                                            statement and certification required by                 communications that concern the                        provide notices and other
                                            paragraph (a) of this section.                          substance and may be used by EPA in                    correspondence to the submitter via
                                               (ii) The confidentiality claim is not                public communications (e.g., Federal                   CDX, using the contact information
                                            accompanied by the substantiation                       Register notices) that concern the                     provided in the most recent version of
                                            required by paragraph (b) of this section.              submission, such as notices of receipt,                the submission, or using the contact
                                            If the submitter claims an exemption                    final confidentiality determination,                   information provided in a more recent
                                            from substantiation under paragraph                     pending confidentiality claim                          notice of transfer of ownership relating
                                            (b)(5) of this section and the exemption                expiration, or in other regulatory actions             to that submission. The fact and date of
                                            does not apply or an explanation is not                 that concern the TSCA submission.                      delivery of such notice is verified
                                            provided for the exemption pursuant to                     (g) Requirement to report health and                automatically by CDX.
                                            paragraph (b)(5) of this section, the                   safety studies using templates.                           (3) In addition to individual notice
                                            confidentiality claim is deficient.                     Submitters of health and safety studies                described in paragraph (h)(2) of this
                                               (iii) The confidentiality claim is not               or information from such studies must                  section, EPA will publish on its website,
                                            accompanied by a public copy that                       provide such data in templated form,                   or other appropriate platform, a list of
                                            meets the requirements of paragraph (c)                 using an appropriate OECD harmonized                   TSCA submissions with confidentiality
                                            of this section.                                        template, if such template is available                claims that are approaching the end of
                                               (iv) The confidentiality claim is for a              for the data type (https://www.oecd.org/               the ten-year period of protection
                                            specific chemical identity and is not                   ehs/templates/). Individual test or data               described in section 14(e) of the Act.
                                            accompanied by a generic name that                      submission rules or orders may specify                 Such TSCA submissions will be referred
                                            meets the requirements of paragraph (d)                 an appropriate template or templates.                  to by the TSCA case or document
                                            of this section.                                        Submission of templated data is not a                  identifier (as described in paragraph
                                               (2) A submission that is identified as               substitute for submitting a full study                 (f)(3) of this section) that was assigned
                                            deficient under paragraph (e)(1) of this                report where a specific TSCA rule or                   to the submission by EPA when it was
                                            section will be held for a period of up                 order requires submission of the full                  originally submitted. TSCA submissions
                                            to 10 business days, and the submitter                  study report (e.g., § 720.50(a) of this                will be added to this list at least 60 days
                                            will be notified via CDX as described in                subchapter, or according to the terms of               prior to the end of the ten-year period
                                            paragraph (h) of this section. During the               a specific order under section 5(e) of the             of protection, along with instructions for
                                            hold, which commences on the day the                    Act).                                                  reasserting and substantiating expiring
                                            CDX notice is sent, any applicable                         (h) Requirement to maintain company                 claims.
                                            review period for the underlying                        contact information; electronic notices                   (4) When a confidentiality claim is
                                            submission will be suspended until                      concerning confidentiality claims. (1) To              being reviewed pursuant to section 14(f)
                                            either the deficiency is corrected or the               facilitate ongoing or future                           of the Act, EPA will provide, when
                                            10 business days elapse without such                    communication concerning TSCA                          necessary, notice of such review and an
                                            correction. Upon the occurrence of the                  submissions, current contact                           opportunity to substantiate or
                                            first of either of these events, the                    information for all of the individuals                 resubstantiate the affected
                                            applicable review period for the                        associated with a particular TSCA                      confidentiality claim to the submitter
                                            underlying submission commences or                      submission must be maintained. Contact                 using the contact information for the
                                            comes out of suspension. If the                         information for all the individuals                    authorized official or technical contact
                                            deficiency is not remedied during the                   associated with a particular TSCA                      provided in the most recent version of
                                            suspension, EPA will proceed with                       submission must be updated by                          the submission or in a more recent
                                            review of the submission and may deny                   amending the submission via CDX,                       notice of transfer of ownership relating
                                            the CBI claim(s).                                       except that submissions that are either                to that submission.
                                               (f) Electronic reporting required. (1)               no longer accessible to the submitting                    (5) Where the submission with the
                                            TSCA submissions bearing                                company or that were not submitted via                 relevant CBI claim was not originally
                                            confidentiality claims must be                          CDX (e.g., submissions that were                       made via CDX, EPA will send the notice
                                            submitted via CDX, except where EPA                     originally provided on paper or other                  via courier or US Mail to the company
                                            directs that information subpoenaed                     physical media), updated company                       address provided in the most recent
                                            under section 11(c) of the Act or                       contact must be provided via CDX using                 TSCA submission made by that
                                            materials collected or requested by EPA                 the appropriate EPA-provided electronic                company, or via other means that allows
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                                            as part of an inspection under section                  reporting application in CISS. In                      verification of the fact and date of
                                            11(a) of the Act, not be submitted via                  circumstances where ownership of the                   receipt. The notice will provide
                                            CDX. Any required TSCA submission                       company or unit of a company has                       instructions for substantiating claims
                                            asserting a CBI claim that does not meet                changed, such that contact information                 that were exempt from substantiation
                                            the requirements of this paragraph will                 for one or more prior TSCA submissions                 when the confidentiality claim was
                                            be deemed incomplete. EPA reserves the                  that include confidentiality claims is                 asserted or for which the submitter was


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                                            otherwise not required to provide                       least 25 percent of confidentiality                    Act begins on the day that EPA accepts
                                            substantiation at the time of initial                   claims asserted under TSCA, not                        a new TSCA submission that includes
                                            submission, and for updating or re-                     including claims for specific chemical                 confidentiality claims. For new
                                            substantiating as necessary any claims                  identity or for the categories of                      information, other than specific
                                            that were previously substantiated.                     information listed in section 14(c)(2) of              chemical identity, added to a
                                               (i) Withdrawing confidentiality                      the Act. Excluded from the                             submission after EPA first accepts the
                                            claims. TSCA confidentiality claims                     representative subset are:                             submission, the review will take into
                                            may be voluntarily withdrawn by the                        (i) Inquiries with respect to potential             account such amendments to that
                                            submitter at any time.                                  submission to EPA of a notification                    submission that are made either up to
                                               (1) Confidentiality claims in TSCA                   under 40 CFR part 720, 721, 723, or 725                60 days from the original submission
                                            submissions that were originally made                   by a person who has not submitted the                  date, or until the Agency issues a final
                                            via electronic submission may be                        notification at the time of the inquiry,               confidentiality determination for the
                                            withdrawn. To withdraw a claim, a                       including inquiries under § 720.25(b) or               submission, whichever comes first. If a
                                            person must reopen the submission in                    § 721.11 of this subchapter;                           submission is amended to report an
                                            CDX, remove confidentiality markings                       (ii) Submissions or other                           additional or different chemical
                                            (e.g., confidential checkmarks or                       communication not submitted to EPA                     substance that includes a new specific
                                            bracketing), revise public copies                       via CDX; and                                           chemical identity claim, the TSCA
                                            including any attachments to unredact                      (iii) Amendments to previous TSCA                   section 14(g) review period for the
                                            the information no longer claimed                       submissions.                                           added chemical identity begins on the
                                            confidential, and then resubmit the                        (2) To satisfy its confidentiality claim            day EPA accepts the amendment
                                            submission.                                             review obligations under section                       including the new claim.
                                               (2) For submissions that were not                    14(g)(1)(C)(ii) of the Act, EPA will                     (d) Publication of final
                                            originally made via CDX, or that are no                 generally review all claims (except those              determinations. Final confidentiality
                                            longer accessible to the submitting                     exempt from substantiation under                       determinations will be published on
                                            company via CDX, confidentiality                        section 14(c)(2) of the Act) in every                  EPA’s website, or other platform,
                                            claims may also be withdrawn via CDX                    fourth TSCA submission submitted via                   periodically, in accordance with the
                                            using the ‘‘TSCA Communications’’                       CDX that is part of the representative                 requirements of section 26(j) of the Act.
                                            application or successor system. The                    subset, in chronological order of receipt                (e) Claim denials and notice period.
                                            withdrawal correspondence must                          by EPA. For each submission selected                   In the case that EPA determines that a
                                            indicate the case or document number                    for review as part of the representative               claim or part of a claim is not entitled
                                            (or other applicable document identifier                subset, EPA reviews and approves or                    to confidential treatment, EPA will
                                            or document identifying details) from                   denies every individual confidentiality                provide notice of the denial to the
                                            which CBI claims are being withdrawn,                   claim in that submission (except claims                person who made the claim and provide
                                            identify the submitting company, and                    that are exempt under sections 14(c)(2)                reasons for the denial or denial in part.
                                            include a list or description of the                    and 14(g) of the Act), including claims                The notice will be provided, as
                                            information for which CBI claims are                    made in attachments and amendments                     described in § 703.5(h). The 30-day
                                            being withdrawn, including page                         available to EPA at the time of the                    notice period described in section
                                            numbers where relevant. Current                         review.                                                14(g)(2)(B) of the Act begins on the next
                                            contact information for the person                         (b) Review of new and expiring
                                                                                                                                                           business day following the date the
                                            withdrawing the claim must also be                      confidentiality claims under TSCA
                                                                                                                                                           notice is made available to the submitter
                                            provided, in the event EPA needs                        Section 14(g). (1)(i) Under section 14(g)
                                                                                                                                                           in their CDX account.
                                            clarification concerning which claim or                 of the Act, EPA will review:
                                                                                                       (A) All chemical identity claims                      (f) Substantive criteria for use in
                                            claims are being withdrawn.                                                                                    confidentiality determinations.
                                               (j) Amending public copy following                   asserted in TSCA submissions except
                                                                                                    those that are exempt from                             Information claimed as confidential
                                            confidentiality claim denial or                                                                                under section 14 of the Act will be
                                            expiration. (1) Following the expiration                substantiation according to section
                                                                                                    14(c)(2)(G) of the Act; and                            approved if all of the following apply:
                                            or EPA’s denial of a TSCA
                                                                                                       (B) a representative subset of other                  (1) The business has asserted a
                                            confidentiality claim, the person who
                                                                                                    confidentiality claims as provided in                  business confidentiality claim which
                                            asserted the denied or expired claim
                                                                                                    paragraph (a) of this section.                         has not expired by its terms, nor been
                                            should prepare and submit a revised
                                                                                                       (ii) Final determinations will be                   waived nor withdrawn;
                                            public copy of the submission to EPA,
                                                                                                    issued by the General Counsel or their                   (2) The business has satisfactorily
                                            following the procedures for voluntarily
                                                                                                    designee, which may include personnel                  shown that it has taken reasonable
                                            withdrawing claims described in
                                                                                                    outside of the Office of General Counsel.              measures to protect the confidentiality
                                            paragraph (i) of this section.
                                               (2) If the person who asserted the                      (2) EPA will review all timely                      of the information, and that it intends to
                                            denied or expired claim declines or fails               requests for extension of claims under                 continue to take such measures for as
                                            to provide within 30 days a revised                     section 14(e) of the Act within 30 days                long as the claim is maintained;
                                            public copy of the submission that                      of receipt.                                              (3) The information is not, and has
                                            includes the information for which the                     (3) EPA will also review or re-review               not been, reasonably obtainable without
                                            confidentiality claim(s) were denied or                 confidentiality claims under certain                   the business’s consent by other persons
                                            expired, EPA may prepare an addendum                    other circumstances, as set out in                     (other than governmental bodies) by use
                                            to the original public copy, as needed,                 section 14(f) of the Act. Review under                 of legitimate means (other than
                                            disclosing the information to the public.               section 14(f) of the Act are conducted in              discovery based on a showing of special
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                                                                                                    accordance with procedures set out in                  need in a judicial or quasi-judicial
                                            § 703.7 EPA review of confidentiality                   § 703.8.                                               proceeding; e.g., the business has
                                            claims under TSCA section 14(g)                            (c) Commencement of the review                      demonstrated a reasonable basis to
                                              (a) Representative subset and                         period and effect of amendments.                       believe the information is not readily
                                            selection of submissions for review. (1)                Subject to § 703.5(e), the 90-day review               discoverable through reverse
                                            A representative subset consists of at                  period described in section 14(g) of the               engineering);


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                                               (4) The business has demonstrated a                  6(b)(4)(A) presents an unreasonable risk               of a court order prohibiting disclosure)
                                            reasonable basis to conclude that                       of injury to health or the environment.                whenever:
                                            disclosure of the information is likely to                 (b) Substantiation exemptions not                      (1) The period provided for
                                            cause substantial harm to the                           applicable. The exemptions from                        commencement by a business of an
                                            competitive position of the business;                   substantiation requirements contained                  action to obtain judicial review of the
                                            and                                                     in section 14(c)(2) of TSCA do not apply               determination has expired without
                                               (5) No statute denies confidential                   to confidentiality claims reviewed                     notice to EPA of commencement of such
                                            protection to the information.                          under this section 703.8, even if such                 an action; or
                                            Information from health and safety                      exemptions applied when the                               (2) The court, in a timely-commenced
                                            studies respecting any chemical that has                information was originally submitted to                action, has denied the person’s motion
                                            been offered for commercial distribution                EPA.                                                   for a preliminary injunction, or has
                                            or for which testing is required under                     (c) Additional substantiation. If                   otherwise upheld the EPA
                                            section 4 of the Act or notice is required              necessary, such as where substantiation                determination.
                                            under section 5 of the Act is not entitled              has not previously been provided for                      (h) Notice relating to public requests
                                            to confidential treatment, except that                  confidentiality claims under review, or                for records. Any person whose request
                                            the following information may be                        where EPA has reason to believe the                    for release of the information under 5
                                            entitled to confidential treatment if it                substantiation is incomplete or out of                 U.S.C. 552 is pending at the time notice
                                            otherwise meets the remainder of                        date, EPA will request additional                      is given under paragraph (f) of this
                                            criteria in this paragraph (f):                         substantiation from the person(s) that                 section shall be furnished notice under
                                               (i) Any information, including                       claimed the information as confidential.               5 U.S.C. 552 either stating the
                                            formulas (including molecular                              (d) Additional substantiation notice.               circumstances under which the some or
                                            structures) of a chemical substance or                  If additional substantiation is necessary,             all of the information will be released or
                                            mixture, that discloses processes used                  EPA will provide notice to the person                  denying the request if all requested
                                            in the manufacturing or processing of a                 that claimed the information as                        information was found to be entitled to
                                            chemical substance or mixture; or                       confidential in the manner specified in                confidential treatment.
                                               (ii) In the case of a mixture, the                   § 703.5(h)(4). The notice will provide
                                            portion of the mixture comprised by any                                                                        PART 704—REPORTING AND
                                                                                                    the time allowed for additional
                                            of the chemical substances in the                                                                              RECORDKEEPING REQUIREMENTS
                                                                                                    substantiation from the business and the
                                            mixture.                                                method for requesting a time extension
                                               (6) The business adequately                                                                                 ■ 6. The authority citation for part 704
                                                                                                    if necessary. If the person does not make              continues to read as follows:
                                            demonstrates that the information is                    a timely response or extension request,
                                            commercial or financial information                                                                                Authority: 15 U.S.C. 2607(a).
                                                                                                    EPA will consider any existing
                                            obtained from a person and is                           substantiations in its review of the                   ■   7. Revise § 704.7 to read as follows:
                                            confidential within the meaning of                      claims or, in the case of any
                                            FOIA Exemption 4 (5 U.S.C. 552(b)(4)).                                                                         § 704.7 Confidential business information
                                                                                                    unsubstantiated claim, EPA will                        claims.
                                               (g) Criteria to use in consideration of              construe this as a waiver of the claim
                                            requests for extension under TSCA                                                                                Claims of confidentiality must be
                                                                                                    and may make the information public
                                            section 14(e). Requests to extend the                                                                          made in accordance with the procedures
                                                                                                    without any further notice to the
                                            period of confidentiality protection                                                                           described in 40 CFR part 703.
                                                                                                    submitter.
                                            under TSCA section 14(e) will be                           (e) Substantive criteria for use in
                                            evaluated using the same criteria as                                                                           PART 707—CHEMICAL IMPORTS AND
                                                                                                    confidentiality determinations. The                    EXPORTS
                                            described in paragraph (f) of this                      criteria in § 703.7(f) apply to
                                            section. Requests for extension may rely                confidentiality determinations initiated               ■ 8. The authority citation for part 707
                                            on a substantiation previously provided                 under TSCA section 14(f).                              continues to read as follows:
                                            to EPA, but the submitter must recertify
                                                                                                       (f) Adverse determinations and notice                   Authority: 15 U.S.C. 2611(b) and 2612.
                                            that the substantiation is still true and
                                                                                                    period. Final determinations will be
                                            correct.                                                                                                       ■ 9. Amend § 707.63 by:
                                                                                                    issued by the General Counsel or their
                                                                                                                                                           ■ a. Removing the paragraph
                                            § 703.8 EPA review of confidentiality                   designee, including personnel outside of
                                                                                                                                                           designations (a) through (d) and listing
                                            claims under TSCA section 14(f).                        the Office of General Counsel. Except
                                                                                                                                                           the existing definitions in alphabetical
                                              (a) Review of confidentiality claims                  for instances where claims were waived,
                                                                                                                                                           order; and
                                            initiated under TSCA Section 14(f). In                  if EPA determines that information
                                                                                                                                                           ■ b. Adding in alphabetical order a
                                            accordance with the procedures                          claimed confidential does not qualify
                                                                                                                                                           definition for ‘‘CDX’’.
                                            described in this section, EPA may                      for protection from disclosure, EPA will                 The addition reads as follows:
                                            review confidentiality claims where                     provide written notice to the person
                                            authorized by TSCA section 14(f)(1),                    who asserted the claim. The notice will                § 707.63    Definitions.
                                            and will review confidentiality claims                  be provided electronically, as described               *     *    *     *     *
                                            subject to TSCA section 14(f)(2) in the                 in § 703.5(h)(2). The 30-day notice                      CDX or Central Data Exchange means
                                            following situations:                                   period described in TSCA section                       EPA’s centralized electronic document
                                              (1) In response to a request under the                14(g)(2)(B) begins on the next business                receiving system, or its successor
                                            Freedom of Information Act (5 U.S.C.                    day following the date the notice is                   system.
                                            552) for TSCA information claimed                       made available to the submitter in their               *     *    *     *     *
                                            confidential;                                           CDX account.                                           ■ 10. Revise § 707.65 to read as follows:
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                                              (2) If EPA has reason to believe that                    (g) Disclosure of Information. After a
                                            information claimed confidential does                   final determination has been made by                   § 707.65    Submission to the agency.
                                            not qualify for protection from                         EPA to release some or all of the                         (a) For each action under TSCA
                                            disclosure; or                                          information claimed as confidential, the               triggering export notification, exporters
                                              (3) For any chemical substance which                  Agency shall make the information                      must notify EPA of their export or
                                            EPA determines under TSCA section                       available to the public (in the absence                intended export of each subject


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                                            chemical substance or mixture for                       regulated chemical within that category,               § 720.85   [Removed]
                                            which export notice is required under                   as well as the category, must be given.                ■   19. Remove § 720.85.
                                            § 707.60 in accordance with the                         The name must be that which appears
                                            following:                                              in the TSCA Inventory if the chemical                  § 720.90   [Removed]
                                               (1)(i) The export notice must be for                 appears there.                                         ■   20. Remove § 720.90.
                                            the first export or intended export by an               *     *     *     *    *
                                            exporter to a particular country in a                                                                          ■   21. Revise § 720.95 to read as follows:
                                                                                                    ■ 12. Amend § 707.75 by revising
                                            calendar year when the chemical                                                                                § 720.95   Public file.
                                            substance or mixture is the subject of an               paragraph (d) to read as follows:
                                                                                                                                                              All information submitted with a
                                            order issued, an action that is pending,                § 707.75    Confidentiality.                           notice, including any health and safety
                                            or relief that has been granted under                   *     *    *     *    *                                study and other supporting
                                            TSCA section 5(f), a rule that has been                                                                        documentation, will become part of the
                                                                                                      (d) Claims of confidentiality must be
                                            proposed or promulgated under TSCA                                                                             public file for that notice, unless such
                                                                                                    made in accordance with the procedures
                                            section 6, or an action that is pending                                                                        materials are claimed confidential in
                                            or relief that has been granted under                   described in 40 CFR part 703.
                                                                                                                                                           accordance with procedures in 40 CFR
                                            TSCA section 7.                                         PART 716—HEALTH AND SAFETY                             703.5. In addition, EPA may add
                                               (ii) The export notice must only be for              DATA REPORTING                                         materials to the public file, subject to
                                            the first export or intended export by an
                                                                                                                                                           subpart E of this part. Publicly available
                                            exporter to a particular country when                   ■ 12. The authority citation for part 716              materials are available at the docket
                                            the chemical substance or mixture is the                continues to read as follows:
                                            subject of an order issued, an action that                                                                     addresses in § 700.17(b)(1) and (2) of
                                            is pending, or relief that has been                         Authority: 15 U.S.C. 2607(d).                      this subchapter and on EPA’s website.
                                            granted under TSCA section 5(e), a rule                                                                        ■ 22. Amend § 720.102 by revising
                                                                                                    ■   13. Revise § 716.55 to read as follows:
                                            that has been proposed or promulgated                                                                          paragraph (c)(2) and adding paragraphs
                                            under TSCA section 5(a)(2), or when the                 § 716.55    Confidentiality claims.                    (e) and (f) to read as follows:
                                            submission of data is required under                      Claims of confidentiality must be                    § 720.102 Notice of commencement of
                                            TSCA section 4 or 5(b). Under this                      made in accordance with the procedures                 manufacture or import.
                                            paragraph, notice of export to a                        described in 40 CFR part 703.
                                                                                                                                                           *      *     *    *     *
                                            particular country is not required if an                                                                         (c) * * *
                                            exporter previously submitted to EPA a                  PART 717—RECORDS AND REPORTS
                                                                                                    OF ALLEGATIONS THAT CHEMCIAL                             (2) If the submitter claims any
                                            notice of export to that country prior to                                                                      information on the form as confidential,
                                            January 16, 2007.                                       SUBSTANCES CAUSE SIGNIFICANT
                                                                                                    ADVERSE REACTIONS TO HEALTH                            the claim must be asserted and
                                               (2) The export notice must be
                                                                                                    OR THE ENVIRONMENT                                     substantiated in accordance with the
                                            submitted to EPA within seven days of
                                                                                                                                                           requirements described in 40 CFR part
                                            forming the intent to export or on the
                                                                                                    ■ 14. The authority citation for part 717              703 and must be submitted via EPA
                                            date of export, whichever is earlier. A
                                                                                                    continues to read as follows:                          Form 7710–56. If the submitter wants
                                            notice of intent to export must be based
                                                                                                                                                           the chemical identity to be listed on the
                                            on a definite contractual obligation, or                    Authority: 15 U.S.C. 2607(c).
                                                                                                                                                           confidential portion of the TSCA
                                            an equivalent intra-company agreement,
                                                                                                    ■ 15. Amend § 717.17 by revising                       Inventory, the chemical identity must be
                                            to export the regulated chemical.
                                               (b) If the EPA action that prompts the               paragraph (c) to read as follows:                      claimed as confidential and the
                                            notice is a proposed rule, the                                                                                 submitter must also follow the
                                                                                                    § 717.17 Inspection and reporting
                                            requirement to submit export notices to                                                                        certification, substantiation, and generic
                                                                                                    requirements.
                                            EPA shall begin thirty days after                                                                              name requirements described 40 CFR
                                                                                                    *     *     *    *     *                               part 703 and paragraphs (e) and (f) of
                                            publication of the action in the Federal                  (c) How to Report. When required to
                                            Register.                                                                                                      this section. Otherwise, EPA will list the
                                                                                                    report, firms must submit copies of                    specific chemical identity on the public
                                               (c) Export notices must be submitted                 records via CDX https://cdx.epa.gov/
                                            via CDX, using the TSCA section 12(b)                                                                          TSCA Inventory. Submitters who did
                                                                                                    using the EPA provided electronic                      not claim the chemical identity,
                                            Export Notification Application or its                  reporting application.
                                            successor.                                                                                                     submitter identity, or other information
                                                                                                    ■ 16. Revise § 717.19 to read as follows:              to be confidential in the PMN cannot
                                            ■ 11. Amend § 707.67 by revising
                                                                                                                                                           claim this information as confidential in
                                            paragraph (a) to read as follows:                       § 717.19    Confidentiality.                           the notice of commencement.
                                            § 707.67   Contents of notice.                            Claims of confidentiality must be                    *      *     *    *     *
                                            *      *    *     *     *                               made in accordance with the procedures                   (e) Confidentiality. (1) Any person
                                               (a) The name of the regulated                        described in 40 CFR part 703.                          who asserts a confidentiality claim for
                                            chemical as it appears in the TSCA                                                                             chemical identity in a Notice of
                                                                                                    PART 720—PREMANUFACTURE
                                            section 4, 5, 6, and/or 7 action. For                                                                          Commencement submitted under this
                                                                                                    NOTIFICATION
                                            substances on the confidential portion                                                                         section must:
                                            of the TSCA Inventory, the substance                    ■ 17. The authority citation for part 720                (i) Comply with generic name
                                            must be identified by generic name and                  continues to read as follows:                          requirements described in 40 CFR part
                                            accession number, or by any other non-                                                                         703 and as specified in paragraph (f) of
                                            confidential identifier under which it is                   Authority: 15 U.S.C. 2604, 2607, and 2613.         this section.
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                                            listed on the TSCA section 12(b)                        ■   18. Revise § 720.80 to read as follows:              (ii) Agree that EPA may disclose to a
                                            reporting list maintained by EPA and                                                                           person with a bona fide intent to
                                            available in the TSCA section 12(b)                     § 720.80    General provisions.                        manufacture or import the chemical
                                            Export Notification Application                           Claims of confidentiality must be                    substance the fact that the particular
                                            described in § 707.65(c). If a category is              made in accordance with the procedures                 chemical substance is included on the
                                            regulated, the name of the individual                   described in 40 CFR part 703.                          confidential TSCA Inventory for


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                                            purposes of notification under section                  acceptable to the submitter (or if the                   (n) Confidentiality. Claims of
                                            5(a)(1)(A) of the Act.                                  submitter does not respond within the                  confidentiality must be made in
                                               (iii) Have available for the particular              10-day period), EPA will place that                    accordance with the procedures
                                            chemical substance, and agree to furnish                alternative generic name on the public                 described in 40 CFR part 703.
                                            to EPA upon request:                                    TSCA Inventory. If the alternative
                                               (A) An elemental analysis.                           generic name proposed by EPA is not                    PART 725—REPORTING
                                               (B) Either an X-ray diffraction pattern              acceptable to the submitter, the                       REQUIREMENTS AND REVIEW
                                            (for inorganic substances), a mass                      submitter must submit a revised generic                PROCESSES FOR MICROORGANISMS
                                            spectrum (for most other substances), or                name that meets the criteria in
                                            an infrared spectrum of the particular                  paragraph (f)(1) of this section and an                ■ 26. The authority citation for part 725
                                            chemical substance, or if such data do                  explanation of how EPA’s proposed                      continues to read as follows:
                                            not resolve uncertainties with respect to               generic name reveals confidential                        Authority: 15 U.S.C. 2604, 2607, 2613, and
                                            the identity of the chemical substance,                 information. If EPA concludes that the                 2625.
                                            additional or alternative spectra or other              submitter’s revised generic name also                  ■   27. Revise § 725.80 to read as follows:
                                            data to identify the chemical substance.                does not meet the criteria in paragraph
                                               (2) Claims of confidentiality must be                (f)(1) of this section, EPA will hold the              § 725.80 General provisions for
                                            made in accordance with the procedures                                                                         confidentiality claims.
                                                                                                    notice of commencement for a period of
                                            described in 40 CFR part 703.                           up to 10 business days. Reporting                         Claims of confidentiality must be
                                               (f) Generic name. If a submitter asserts             requirements will not be considered to                 made in accordance with the procedures
                                            a claim of confidentiality for chemical                 have been met and the substance will                   described in 40 CFR part 703, except as
                                            identity in a notice of commencement,                   not be added to the TSCA Inventory                     modified in this paragraph. In general,
                                            they must provide a structurally                        during this period. If the submission                  references to ‘‘chemical’’ or ‘‘chemical
                                            descriptive generic name.                               remains deficient after this 10-day                    identity’’ in part 703 are equivalent to
                                               (1) Generic names must:                              period, EPA will proceed with CBI                      ‘‘microorganism’’ or ‘‘microorganism
                                               (i) Be structurally descriptive (e.g., not           review of the chemical identity claim                  identity’’ for the purposes of this part.
                                            a trade name);                                          and will likely deny the claim.                           (a) In place of § 703.5(b)(3)(v) of this
                                               (ii) Describe the chemical structure of                                                                     subchapter, the following question must
                                            the chemical substance as specifically as               PART 723—PREMANUFACTURE                                be answered: Has EPA, another Federal
                                            practicable while protecting only those                 NOTICE EXEMPTIONS                                      agency, or court made any
                                            features of the chemical structure that                                                                        confidentiality determination regarding
                                            are claimed as confidential and                         ■ 23. The authority citation for part 723              information associated with this
                                            disclosure of which would likely cause                  continues to read as follows:                          microorganism? If yes, please provide
                                            substantial harm to the competitive                         Authority: 15 U.S.C. 2604.                         the circumstances associated with the
                                            position of the person—the generic                      ■ 24. Amend § 723.50 by revising                       prior determination, whether the
                                            name should generally only obscure one                  paragraph (l) to read as follows:                      information was found to be entitled to
                                            structural feature, but in any case,                                                                           confidential treatment, the entity that
                                            should conceal only the feature(s)                      § 723.50 Chemical substances                           made the decision, and the date of the
                                            necessary to avoid a likelihood of                      manufactured in quantities of 10,000                   determination.
                                            substantial competitive harm to the                     kilograms or less per year, and chemical                  (b) In place of § 703.5(b)(4) of this
                                            submitter; and                                          substances with low environmental                      subchapter, the following questions
                                                                                                    releases and human exposures.
                                               (iii) Be consistent with guidance on                                                                        apply:
                                            the determination of structurally                       *     *     *    *      *                                 (1) Has the identity of the
                                            descriptive generic names, developed in                   (l) Confidentiality. Claims of                       microorganism been kept confidential to
                                            accordance with TSCA section                            confidentiality must be made in                        the extent that competitors do not know
                                            14(c)(4)(A) (e.g., Guidance for Creating                accordance with the procedures                         it is being manufactured or imported
                                            Generic Names for Confidential                          described in 40 CFR part 703.                          into US commerce? If not, explain why
                                            Chemical Substance Identity Reporting                   *     *     *    *      *                              the microorganism identity should still
                                            under TSCA; available at https://                       ■ 25. Amend § 723.250 by revising                      be afforded confidential status (e.g., the
                                            www.epa.gov/tsca-inventory/guidance-                    paragraphs (f) introductory text and (n)               microorganism is publicly known only
                                            creating-generic-names-confidential-                    to read as follows:                                    as being distributed in commerce for
                                            chemical-substance-identity-reporting).                                                                        research and development purposes, but
                                               (2) Generic names will be reviewed by                § 723.250    Polymers.                                 no other information about the current
                                            EPA at the time of submission.                          *     *     *     *      *                             commercial distribution of the
                                               (i) If EPA concludes that a proposed                   (f) Exemption report for polymers                    microorganism in the United States is
                                            generic name meets the criteria in                      manufactured under the terms of this                   publicly available).
                                            paragraph (f)(1) of this section, EPA will              section. For substances exempt under                      (2) Does the microorganism leave the
                                            include that generic name in the public                 paragraphs (e)(1) through (3) of this                  site of production or testing in a form
                                            TSCA Inventory listing for that                         section a report of manufacture or                     which is accessible to the public or to
                                            substance.                                              import must be submitted by January 31                 competitors? If yes, please explain what
                                               (ii) If the proposed generic name does               of the year subsequent to initial                      measures have been taken to guard
                                            not meet the criteria in paragraph (f)(1)               manufacture. The report and                            against the discovery of its identity.
                                            of this section, EPA will notify the                    accompanying claims must be                            Further, what is the cost to a competitor,
                                            submitter concerning the deficiency via                 submitted via CDX (https://cdx.epa.                    in time and money, to develop
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                                            CDX, as described in 40 CFR 703.5(f).                   gov/), using the TSCA Section 5 Notices                appropriate use conditions? What
                                            EPA will provide 10 business days to                    and Supports—ePMN application. See                     factors facilitate or impede product
                                            correct the deficiency and provide an                   § 720.40(a)(2)(ii) of this subchapter for              analysis?
                                            alternative generic name that would be                  information on how to access e-PMN
                                            acceptable to EPA. If the alternative                   software. The notice must include:                     § 725.85   [Removed]
                                            generic name proposed by EPA is                         *     *     *     *      *                             ■   28. Remove § 725.85.


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                                            § 725.92   [Removed]                                       (4) Make claims of confidentiality in               the submitter does not respond within
                                            ■   29. Remove § 725.92.                                accordance with the procedures                         the ten-day period), EPA will place that
                                                                                                    described in 40 CFR part 703.                          alternative generic name on the public
                                            § 725.94   [Removed]                                       (f) Generic name. If a submitter asserts            TSCA Inventory. If the alternative
                                            ■   30. Remove § 725.94.                                a claim of confidentiality for                         generic name proposed by EPA is not
                                                                                                    microorganism identity in a notice of                  acceptable to the submitter, the
                                            ■   31. Revise § 725.95 to read as follows:             commencement, they must provide a                      submitter must submit a revised generic
                                            § 725.95   Public file.                                 generic name.                                          name that meets the criteria in
                                              All information submitted, including                     (1) Generic names must:                             paragraph (f)(1) of this section and an
                                                                                                       (i) Be structurally descriptive (e.g., not          explanation of how EPA’s proposed
                                            any health and safety study of a
                                                                                                    a trade name); and                                     generic name reveals confidential
                                            microorganism and other supporting                         (ii) Be consistent with guidance on
                                            documentation, will become part of the                                                                         information. If EPA concludes that the
                                                                                                    the determination of structurally                      revised generic name also does not meet
                                            public file for that submission, unless                 descriptive generic names, developed in
                                            such materials are claimed as                                                                                  the criteria in paragraph (f)(1) of this
                                                                                                    accordance with section 14(c)(4)(A) of                 section, EPA will hold the notice of
                                            confidential in accordance with this                    the Act (e.g., Guidance for Creating
                                            section. In addition, EPA may add                                                                              commencement for a period of up to 10
                                                                                                    Generic Names for Confidential                         business days. Reporting requirements
                                            materials to the public file, subject to                Chemical Substance Identity Reporting
                                            subpart C of this part. Publicly available                                                                     will not be considered to have been met
                                                                                                    under TSCA). Generic names for
                                            materials are available at the docket                                                                          and the microorganism will not be
                                                                                                    microorganisms may only mask the
                                            addresses in § 700.17(b)(1) and (2) of                                                                         added to the TSCA Inventory during
                                                                                                    portion of microorganism identity that
                                            this subchapter and on EPA’s website.                                                                          this period. If the submission remains
                                                                                                    the submitter believes is proprietary
                                            ■ 32. Amend § 725.190 by revising
                                                                                                                                                           deficient after this 10-day period, EPA
                                                                                                    (considering that the identity of a
                                            paragraph (c) and adding paragraphs (e)                                                                        will proceed with CBI review of the
                                                                                                    microorganism to be listed on the TSCA
                                            and (f) to read as follows:                                                                                    microorganism identity claim and will
                                                                                                    Inventory must include taxonomic
                                                                                                                                                           likely deny the claim.
                                                                                                    designations (genus, species, and
                                            § 725.190 Notice of commencement of
                                            manufacture or import.
                                                                                                    strain), key phenotypic traits, key                    PART 790—PROCEDURES
                                                                                                    genotypic traits and modifications,                    GOVERNING TESTING CONSENT
                                            *      *     *     *     *                              genetic material that has been
                                              (c) Information to be reported. The                                                                          AGREEMENTS AND TEST RULES
                                                                                                    introduced or modified, any vector
                                            NOC must contain the following                          constructs used, cellular location of                  ■ 34. The authority citation for part 790
                                            information: Specific microorganism                     introduced or modified genes, number                   continues to read as follows:
                                            identity, MCAN number, and the date                     and type of genes introduced or
                                            when manufacture or import                                                                                         Authority: 15 U.S.C. 2603.
                                                                                                    modified, and method of construction or
                                            commences. If the person claims any                     modification). Taxonomic designation                   ■   32. Revise § 790.7 to read as follows:
                                            information on the form as confidential,                (in most cases down to strain) must be
                                            the claim must be asserted and                                                                                 § 790.7   Confidentiality.
                                                                                                    included in the generic name except
                                            substantiated in accordance with the                                                                             Claims of confidentiality must be
                                                                                                    where the submitter claims the
                                            requirements described in part 703 of                                                                          made in accordance with the procedures
                                                                                                    taxonomic designation confidential, in
                                            this subchapter and § 725.80, as                                                                               described in 40 CFR part 703.
                                                                                                    which case the person making such
                                            indicated in EPA Form 7710–56. If the                   claim must provide an explanation of                   [FR Doc. 2023–12044 Filed 6–6–23; 8:45 am]
                                            submitter wants the microorganism                       why such masking is necessary to                       BILLING CODE 6560–50–P
                                            identity to be listed on the confidential               protect proprietary information.
                                            portion of the TSCA Inventory, the                      Additionally, the generic microorganism
                                            microorganism identity must be claimed                  identity must include a statement                      DEPARTMENT OF HEALTH AND
                                            as confidential and also follow the                     regarding the function and stability of                HUMAN SERVICES
                                            certification, substantiation, and generic              the genetic construct. This includes an
                                            name requirements described in part                     indication of whether the introduced or                Centers for Medicare & Medicaid
                                            703 of this subchapter and paragraphs                   modified genes are present on the                      Services
                                            (e) and (f) of this section.                            chromosome or extrachromosomal.
                                            *      *     *     *     *                                 (2) Generic names will be reviewed by               42 CFR Parts 417, 422, 423, 455, and
                                               (e) Requirements for assertion. Any                  EPA at the time of submission.                         460
                                            person who asserts a confidentiality                       (i) If EPA concludes that a proposed                [CMS–4201–CN2]
                                            claim for microorganism identity must:                  generic name meets the criteria in
                                               (1) Comply with the requirements of                  paragraph (f)(1) of this section, EPA will             RIN 0938–AU96
                                            paragraph (f) of this section regarding                 include that generic name in the public
                                            submission of a generic name.                                                                                  Medicare Program; Contract Year 2024
                                                                                                    TSCA Inventory listing for that
                                               (2) Agree that EPA may disclose to a                                                                        Policy and Technical Changes to the
                                                                                                    substance.
                                            person with a bona fide intent to                          (ii) If the proposed generic name does              Medicare Advantage Program,
                                            manufacture or import the                               not meet the criteria in paragraph (f)(1)              Medicare Prescription Drug Benefit
                                            microorganism the fact that the                         of this section, EPA will notify the                   Program, Medicare Cost Plan Program,
                                            particular microorganism is included on                 submitter concerning the deficiency via                and Programs of All-Inclusive Care for
                                            the confidential TSCA Inventory for                     CDX, as described in § 703.5(h) of this                the Elderly; Correction
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                                            purposes of notification under section                  subchapter. EPA will provide ten                       AGENCY:  Centers for Medicare &
                                            5(a)(1)(A) of the Act.                                  business days to correct the deficiency                Medicaid Services (CMS), HHS.
                                               (3) Have available and agree to furnish              and provide an alternative generic name                ACTION: Final rule; correction.
                                            to EPA upon request the taxonomic                       that would be acceptable to EPA. If the
                                            designations and supplemental                           alternative generic name proposed by                   SUMMARY:  This document corrects
                                            information required by § 725.12.                       EPA is acceptable to the submitter (or if              technical errors that appeared in the


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